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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



DISTRICT OF COLUMBIA,
400 6th Street, N.W, 10th Floor
Washington, D.C. 20001,

                     Plaintiff,

              v.


PROUD BOYS INTERNATIONAL, L.L.C.,
    108 Durango Dr.                                Case No. ______________
    Aubrey, TX 76227,

OATH KEEPERS,
     5130 Fort Apache Rd.                            JURY TRIAL DEMANDED
     Las Vegas, NV 89148,

RYAN ASHLOCK,
     711 S. Spruce Cir.
     Gardner, KS 66030-1632,

JOSEPH RANDALL BIGGS,
     114 Camino Cir.
     Ormond Beach, FL 32174,

MARC ANTHONY BRU,
    10013 NE Hazel Dell Ave.
    Vancouver, WA 98685-5203,

THOMAS EDWARD CALDWELL,
    274 Wadesville Rd.
    Berryville, VA 22611,

WILLIAM CHRESTMAN,
     16393 S. Sunset St.
     Olathe, KS 66062-2707,
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LOUIS ENRIQUE COLON,
     131 SW 27th St.
     Blue Springs, MO 64015-3342,

DONOVAN RAY CROWL,
    216 N Main St.
    Woodstock, OH 43084-9700,

NICHOLAS DECARLO,
     712 SW Sunset Ln.
     Burleson, TX 76028-5220,

CHARLES DONOHOE,
    2840 Cole Rd.,
    Winston Salem, NC 27107-4510,

KENNETH HARRELSON,
    2885 Saint Marks Dr.
    Titusville, FL 32780-6743,

ARTHUR JACKMAN,
    4030 N. Econlockhatchee Trail
    Orlando, Fl. 32817-1327,

JOSHUA JAMES,
     1463 Brashiers Chapel Rd.
     Arab, AL 35016-2727,

JONATHANPETER KLEIN,
     25180 SW Labrousse Rd.
     Sherwood, OR 97140-8807,

CHRISTOPHER KUEHNE,
     16657 S. Chalet Dr.
     Olathe, KS 66062-2513,

CONNIE MEGGS,
    14100 SW 101St LN.
    Dunnellon, FL 34432-4700,




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KELLY MEGGS,
     14100 SW 101St LN.
     Dunnellon, FL 34432-4700,

ROBERTO A. MINUTA,
     120 Gray LN.,
     Prosper, TX 75078-3010,

ETHAN NORDEAN,
    31930 169th Ave. SE
    Auburn, WA 98092,

NICHOLAS ROBERT OCHS,
     3245 Virginia St
     Apt 56,
     Miami, FL 33133-5250,

BENNIE ALVIN PARKER,
     1170 Essex Gln.
     Morrow, OH 45152-8486,

SANDRA RUTH PARKER,
    1170 Essex Gln.
    Morrow, OH 45152-8486,

WILLIAM JOSEPH PEPE,
     85 Judson St.
     Apt. 2
     Beacon, NY 12508,

DOMINIC PEZZOLA,
    4039 Lake Ave.
    Rochester, NY 14612,

ZACHARY REHL,
    3058 Almond St.
    Philadelphia, PA 19134-5028,

JON RYAN SCHAFFER,
     5162 Timber Ridge Dr.


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         Columbus, IN 47201-8816,

 DANIEL LYONS SCOTT,
      122 W Perry LN
      Englewood, FL 34223-2943,

 LAURA STEELE,
     249 Newcastle Ct.
     Thomasville, NC 27360-7175,

 HENRY “ENRIQUE” TARRIO,
     5730 SW 142 Ct.
     Miami, FL 33184,

 JESSICA MARIE WATKINS,
       2586 Hickory Mill Dr.
       Hilliard, OH 43026-9464,

 CHRISTOPHER JOHN WORRELL,
      282 Stanhope Cir.
      Naples, FL 34104-0810,

 GRAYDON YOUNG,
     7147 Lago St.,
     Sarasota, FL 34241

                 AND

 JOHN AND JANE DOES 1-50

                       Defendants.


                                           COMPLAINT

       1.      The District of Columbia (the “District”) brings this action against Proud Boys

International, L.L.C. (“Proud Boys” or “PBI”), the Oath Keepers (“Oath Keepers”), their

leadership, certain of their members, and others, for conspiring to terrorize the District by planning,




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promoting, and participating in the violent January 6, 2021, attack on the United States Capitol

Building (the “Capitol”).

                                  NATURE OF THIS ACTION

       2.      Following the 2020 Presidential Election, two organizations—the Proud Boys and

the Oath Keepers—through and with their leadership and certain members and affiliates, conspired

to commit acts of violence and attack the United States Congress on January 6, 2021 (the “January

6th Attack” or the “Attack”), with the express purpose of preventing members of Congress and

then Vice President Michael Pence from discharging their official constitutional duties and

declaring Joseph Biden the winner of the 2020 Presidential Election.

       3.      Over the course of several weeks, the Proud Boys, the Oath Keepers, their

leadership, and certain of their members and affiliates—motivated by a desire to overturn the legal

results of the election and initiate a second term of Donald Trump’s presidency—worked together

to plot, publicize, recruit for, and finance their planned attack.

       4.      The result of that planning, the January 6th Attack on the Capitol, was not a protest

or a rally. It was a coordinated act of domestic terrorism.

       5.      Would-be insurgents from across the country came to the District, marched through

its streets, and ultimately gathered at the United States Capitol, ready and eager to carry out a

violent attack on the lawful operation of government.

       6.      Then, as the Proud Boys, the Oath Keepers, their leadership, and certain of their

members and affiliates had planned, Defendants and others rioted, broke through police barricades,

and physically forced their way into the Capitol. In doing so, they threatened, assaulted, and

injured those who tried to stop them, including officers of the District’s Metropolitan Police




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Department (“MPD”), and incited terror among those inside and around the building, including

members of Congress who were discharging the official duties of their offices.

         7.       In the wake of this assault, the Capitol was left in shambles, with the District left to

deal with the aftermath of the violent disruption to what should have been the peaceful transition

of presidential power.

         8.       Through this action, the District seeks to hold the Defendants accountable under

federal laws and the laws of the District of Columbia for the actions committed in furtherance of

their conspiracy. The District seeks compensatory, statutory, and punitive relief, and, by filing

this action, intends to make clear that it will not countenance the use of violence against the

District, including its police officers.

                                                    PARTIES

         9.       Plaintiff District of Columbia: The District is a municipal corporation and is the

local government for the territory constituting the permanent seat of the government of the United

States. The District is represented by and through its chief legal officer, the Attorney General for

the District of Columbia. The Attorney General has general charge and conduct of all legal

business of the District and all suits initiated by and against the District and is responsible for

upholding the public interest. D.C. Code § 1-301.81(a)(1).

         10.      Defendant Proud Boys International, L.L.C.: Proud Boys is a limited liability

company organized and existing under the laws of Texas at the time of the actions and events

alleged in this Complaint. 1 PBI was created to “establish, maintain, govern, improve and promote


1
  In February 2021, after it was sued for another violent attack on a church in the District that preceded the January
6th Attack, PBI’s officers sought to evade service by purporting to dissolve the entity. Under Texas law, PBI continues
to exist for three years from the time its officers filed papers with the Texas government to dissolve the entity. See
TEX. BUS. ORGS. CODE ANN. § 11.356 (West). Therefore, for purposes of this action, PBI remains a limited liability
company organized and existing under the laws of Texas.



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the welfare of a fraternal order to be known as the ‘Proud Boys.’” The Proud Boys is a U.S.-based

group that promotes and engages in political violence, including in service of its hate-motivated

agenda. PBI is a citizen of Florida, Texas, Colorado, Georgia, Michigan, and Canada. 2

        11.      Defendant Oath Keepers:               The Oath Keepers is a nonprofit corporation

incorporated in Nevada, with its principal place of business in Granbury, Texas. The Oath Keepers

is a militia movement group united by baseless conspiracy theories arising from the idea that the

federal government has been coopted by a nefarious group that is trying to strip United States

citizens of their rights.

                                           Individual Defendants

        12.      Defendant Ryan Ashlock: Ashlock is a resident and citizen of the state of Kansas.

Ashlock is a member of the Proud Boys. Ashlock was criminally charged and indicted for his role

in perpetrating the January 6th Attack in US v. Kuehne, No. 1:21-cr-00160-TJK, (D.D.C 2021).

The Criminal Complaint (Dkt. 5), Affidavit in Support (Dkt. 5-1), and Kuehne, et al. Indictment

(Dkt. 29) filed against Ashlock are publicly available documents that are hereby incorporated into

the Complaint by reference. 3

        13.      Defendant Joseph Randall Biggs: Biggs, also known as “Sergeant Biggs,” is a

resident and citizen of the state of Florida. Biggs is a member of the Proud Boys. Biggs was

criminally charged and indicted for his role in perpetrating the January 6th Attack in US v.

Nordean, No. 1:21-cr-00175-TJK (D.D.C. 2021). The Criminal Complaint (Dkt. 1), Affidavit in




2
  As a limited liability company, PBI’s citizenship is determined by the citizenship of its members. PBI’s members
are the eight Proud Boys “brothers” who are elected by the membership of the Proud Boys fraternal order to lead the
organization as “Elders.” The Proud Boys’ bylaws list the first chapter of Elders as including Enrique Tarrio of
Florida, Joshua Hall of Texas, Ethan Nordean of Washington, Lucas Rohlfing of Colorado, Heath Hair of Georgia,
Harry Fox of Michigan, Timothy Kelley of Canada, and Patrick William Roberts of Colorado.
3
  The documents incorporated by reference can be found at https://statesuniteddemocracy.org/legal/dcvproudboys-
info-legal/, where they are identified by the paragraph number in this Complaint in which they appear.


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Support (Dkt. 1-1), and Nordean, et al. First Superseding Indictment (Dkt. 26) filed against Biggs

are publicly available documents that are hereby incorporated into the Complaint by reference.

       14.      Defendant Marc Anthony Bru: Bru is a resident and citizen of the state of

Washington. Bru is a member of the Proud Boys. Bru was criminally charged and indicted for

his role in perpetrating the January 6th Attack in US v. Bru, No. 1:21-cr-00352-JEB (D.D.C 2021).

The Criminal Complaint (Dkt. 1), accompanying Statement of Facts (Dkt. 1-1), and Indictment

(Dkt. 12) filed against Bru are publicly available documents that are hereby incorporated into the

Complaint by reference.

       15.      Defendant Thomas Edward Caldwell: Caldwell is a resident and citizen of the

state of Virginia. Caldwell is an affiliate or member of the Oath Keepers. Caldwell was criminally

charged and indicted for his role in perpetrating the January 6th Attack in US v. Caldwell,

No. 1:21-cr-00028-APM (D.D.C. 2021). The Watkins, et al. Amended Complaint (Dkt. 1),

Affidavit in Support (Dkt 1-1), and Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed

against Caldwell are publicly available documents that are hereby incorporated into the Complaint

by reference.

       16.      Defendant William Chrestman: Chrestman is a resident and citizen of the state

of Kansas. Chrestman is a member of the Proud Boys. Chrestman was criminally charged and

indicted for his role in perpetrating the January 6th Attack in US v. Kuehne, No. 1:21-cr-00160-

TJK (D.D.C. 2021). The Criminal Complaint, Affidavit in Support, and Kuehne, et al. Indictment

(Dkt. 29) filed against Chrestman are publicly available documents that are hereby incorporated

into the Complaint by reference.

       17.      Defendant Louis Enrique Colon: Colon is a resident and citizen of the state of

Missouri. Colon is a member or affiliate of the Proud Boys. Colon was criminally charged and



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indicted for his role in perpetrating the January 6th Attack in US v. Kuehne, No. 1:21-cr-00160-

TJK (D.D.C. 2021). The Kuehne, et al. Criminal Complaint, Affidavit in Support, and Kuehne, et

al. Indictment (Dkt. 29) filed against Colon are publicly available documents that are hereby

incorporated into the Complaint by reference.

       18.     Defendant Donovan Ray Crowl: Crowl is a resident and citizen of the state of

Ohio. Crowl is a member of the Oath Keepers. Crowl was criminally charged and indicted for his

role in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-00028-APM (D.D.C.

2021). The Watkins, et al. Amended Complaint (Dkt. 1), Affidavit in Support (Dkt 1-1), and

Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against Crowl are publicly available

documents that are hereby incorporated into the Complaint by reference.

       19.     Defendant Nicholas DeCarlo: DeCarlo, also known as “Nick DeCarlo” or “Nick

Lambaste,” is a resident and citizen of the state of Texas. DeCarlo is a member or affiliate of the

Proud Boys. DeCarlo was criminally charged and indicted for his role in perpetrating the January

6th Attack in US v. DeCarlo, No. 1:21-cr-00073-BAH (D.D.C. 2021). The Criminal Complaint

(Dkt. 1), accompanying Statement of Facts (Dkt. 1-1), and Indictment (Dkt. 17) filed against

DeCarlo are publicly available documents that are hereby incorporated into the Complaint by

reference.

       20.     Defendant Charles Donohoe: Donohoe is a resident and citizen of the state of

North Carolina. Donohoe is a member of the Proud Boys. Donohoe was criminally charged and

indicted for his role in perpetrating the January 6th Attack in US v. Nordean, No. 1:21-cr-00175-

TJK (D.D.C. 2021). The Nordean, et al. First Superseding Indictment (Dkt. 26) filed against

Donohoe is a publicly available document that is hereby incorporated into the Complaint by

reference.



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       21.     Defendant Kenneth Harrelson: Harrelson is a resident and citizen of the state of

Florida. Harrelson is a member of the Oath Keepers. Harrelson was criminally charged and

indicted for his role in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-00028-

APM (D.D.C. 2021). The Criminal Complaint (Dkt. 1), Statement of Facts (Dkt. 1-1), and

Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against Harrelson are publicly

available documents that are hereby incorporated into the Complaint by reference.

       22.     Defendant Arthur Jackman: Jackman is a resident and citizen of the state of

Florida. Jackman is a member of the Proud Boys. Jackman was criminally charged and indicted

for his role in perpetrating the January 6th Attack in US v. Jackman, No. 1:21-cr-00378-TJK

(D.D.C. 2021). The Criminal Complaint (Dkt. 1), Affidavit in Support (Dkt. 1-1), and Superseding

Indictment (Dkt. 23) filed against Jackman are publicly available documents that are hereby

incorporated into the Complaint by reference.

       23.     Defendant Joshua James: James is a resident and citizen of the state of Alabama.

James is a member of the Oath Keepers. James was criminally charged and indicted for his role

in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-00028-APM (D.D.C. 2021).

The Criminal Complaint (Dkt. 1), Affidavit in Support (Dkt. 1-1), and Caldwell, et al. Fifth

Superseding Indictment (Dkt. 328) filed against James are publicly available documents that are

hereby incorporated into the Complaint by reference.

       24.     Defendant Jonathanpeter Klein: Klein is a resident and citizen of the state of

Oregon. Klein is a member of the Proud Boys. Klein was criminally charged and indicted for his

role in perpetrating the January 6th Attack in US v. Klein, No. 1:21-cr-00237-RDM (D.D.C. 2021).

The Indictment (Dkt. 1) filed against Klein is a publicly available document that is hereby

incorporated into the Complaint by reference.



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       25.     Defendant Christopher Kuehne: Kuehne is a resident and citizen of the state of

Kansas. Kuehne is a member or affiliate of the Proud Boys. Kuehne was criminally charged and

indicted for his role in perpetrating the January 6th Attack in US v. Kuehne, No. 1:21-cr-00160-

TJK (D.D.C. 2021). The Kuehne et al. Criminal Complaint, Affidavit in Support, and Kuehne, et

al. Indictment (Dkt. 29) are publicly available documents that are hereby incorporated into the

Complaint by reference.

       26.     Defendant Connie Meggs (“C. Meggs”): C. Meggs is a resident and citizen of

the state of Florida. C. Meggs is a member of the Oath Keepers. C. Meggs was criminally charged

and indicted for her role in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-

00028-APM (D.D.C. 2021). The Meggs et al. Criminal Complaint (Dkt. 1), Affidavit in Support

(Dkt. 1-1), and Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against C. Meggs are

publicly available documents that are hereby incorporated into the Complaint by reference.

       27.     Defendant Kelly Meggs (“K. Meggs”): K. Meggs is a resident and citizen of the

state of Florida and is the self-described leader of the Florida chapter of the Oath Keepers. K.

Meggs was criminally charged and indicted for his role in perpetrating the January 6th Attack in

US v. Caldwell, No. 1:21-cr-00028-APM (D.D.C. 2021). The Meggs et al. Criminal Complaint

(Dkt. 1), Affidavit in Support (Dkt. 1-1), and Caldwell, et al. Fifth Superseding Indictment (Dkt.

328) filed against K. Meggs are publicly available documents that are hereby incorporated into the

Complaint by reference.

       28.     Defendant Roberto A. Minuta: Minuta is a resident and citizen of the state of

Texas. Minuta is a member of the Oath Keepers. Minuta was criminally charged and indicted for

his role in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-00028-APM (D.D.C.

2021). The Criminal Complaint (Dkt. 1), Affidavit in Support (Dkt. 1-1), and Caldwell, et al. Fifth



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Superseding Indictment (Dkt. 328) filed against Minuta are publicly available documents that are

hereby incorporated into the Complaint by reference.

       29.     Defendant Ethan Nordean: Nordean, also known as “Rufio Panman,” is a

resident and citizen of the state of Washington. Nordean is the self-described “Sergeant-at-Arms”

of the Seattle chapter of the Proud Boys. Nordean was criminally charged and indicted for his role

in perpetrating the January 6th Attack in US v. Nordean et al., No. 1:21-cr-00175-TJK (D.D.C.

2021). The Criminal Complaint (Dkt. 6), Affidavit in Support (Dkt. 6-1), and Nordean, et al. First

Superseding Indictment (Dkt. 26) filed against Nordean are publicly available documents that are

hereby incorporated into the Complaint by reference.

       30.     Defendant Nicholas Robert Ochs: Ochs is a resident and citizen of the state of

Hawaii. Ochs is a founding member of the Proud Boys Hawaii chapter. Ochs was criminally

charged and indicted for his role in perpetrating the January 6th Attack in US v. DeCarlo, No.

1:21-cr-00073-BAH (D.D.C. 2021). The Criminal Complaint (Dkt. 1), Affidavit in Support

(Dkt. 1-1), and Indictment (Dkt. 17) filed against Ochs are publicly available documents that are

hereby incorporated into the Complaint by reference.

       31.     Defendant Bennie Alvin Parker (“B. Parker”): B. Parker is a resident and citizen

of the state of Ohio. B. Parker is a member or affiliate of the Oath Keepers. B. Parker was

criminally charged and indicted for his role in perpetrating the January 6th Attack in US v.

Caldwell, No. 1:21-cr-00028-APM (D.D.C. 2021). The Criminal Complaint (Dkt. 1), Affidavit in

Support (Dkt. 1-1), and Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against B.

Parker are publicly available documents that are hereby incorporated into the Complaint by

reference.




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       32.    Defendant Sandra Ruth Parker (“S. Parker”): S. Parker is a resident and citizen

of the state of Ohio. S. Parker is a member or affiliate of the Oath Keepers. S. Parker was

criminally charged and indicted for her role in perpetrating the January 6th Attack in US v.

Caldwell, No. 1:21-cr-00028-APM (D.D.C. 2021). The Criminal Complaint (Dkt. 1), Affidavit in

Support (Dkt. 1-1), and Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against S.

Parker are publicly available documents that are hereby incorporated into the Complaint by

reference.

       33.    Defendant William Joseph Pepe: Pepe is a resident and citizen of the state of

New York. Pepe is a member of the Proud Boys. Pepe was criminally charged and indicted for

his role in perpetrating the January 6th Attack in US v. Pezzola, No. 1:21-cr-00052-TJK (D.D.C.

2021). The Criminal Complaint (Dkt. 1), accompanying Statement of Facts (Dkt. 1-1), and

Superseding Indictment (Dkt. 34) filed against Pepe are publicly available documents that are

hereby incorporated into the Complaint by reference.

       34.    Defendant Dominic Pezzola: Pezzola, also known as “Spaz” or “Spazzo,” is a

resident and citizen of the state of New York. Pezzola is a member of the Proud Boys. Pezzola

was criminally charged and indicted for his role in perpetrating the January 6th Attack in US v.

Pezzola, No. 1:21-cr-00052-TJK (D.D.C. 2021). The Criminal Complaint (Dkt. 1), Affidavit in

Support (Dkt. 1-1), and Superseding Indictment (Dkt. 34) filed against Pezzola are publicly

available documents that are hereby incorporated into the Complaint by reference.

       35.    Defendant Zachary Rehl:         Rehl is a resident and citizen of the state of

Pennsylvania. Rehl is the president of the Philadelphia Proud Boys chapter, and a member of the

Proud Boys. Rehl was criminally charged and indicted for his role in perpetrating the January 6th

Attack in US v. Nordean, No. 1:21-cr-00175-TJK (D.D.C. 2021). The Nordean, et al. First



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Superseding Indictment (Dkt. 26) filed against Rehl is a publicly available document that is hereby

incorporated into the Complaint by reference.

       36.     Defendant Jon Ryan Schaffer: Schaffer is a resident and citizen of the state of

Indiana. Schaffer is a founding, lifetime member of the Oath Keepers. Schaffer was criminally

charged and indicted for his role in perpetrating the January 6th Attack in US v. Schaffer, No. 1:21-

cr-00306-APM (D.D.C. 2021). In connection with a promise to cooperate with investigators and

potentially testify in criminal cases related to the conspiracy to commit the January 6th Attack,

Schaffer pleaded guilty to the entire Statement of Offense in the criminal action brought against

him, which included two felony offenses: (1) trespass of the Capitol while armed with a deadly

or dangerous weapon and (2) obstruction of an official proceeding of Congress. The Criminal

Complaint (Dkt. 1) filed against Schaffer—as well as Schaffer’s Plea Agreement (Dkt. 29) and the

accompanying Statement of Offense (Dkt. 30) describing his conduct—are publicly available

documents that are hereby incorporated into the Complaint by reference.

       37.     Defendant Daniel Lyons Scott: Scott, also known as “Milkshake,” is a resident

and citizen of the state of Florida. Scott is a member of the Proud Boys and has a tattoo of the

organization’s name on his upper arm. Scott was criminally charged and indicted for his role in

perpetrating the January 6th Attack in US v. Scott, No. 1:21-cr-00499-EGS (D.D.C. 2021). The

Criminal Complaint (Dkt. 1), accompanying Statement of Facts (Dkt. 1-1), and Indictment (Dkt.

18) filed against Scott are publicly available documents that are hereby incorporated into the

Complaint by reference.

       38.     Defendant Laura Steele: Steele is a resident and citizen of the state of North

Carolina. Steele is a member of the Florida chapter of the Oath Keepers. Steele was criminally

charged and indicted for her role in perpetrating the January 6th Attack in US v. Caldwell, No.



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1:21-cr-00028-APM (D.D.C. 2021). The Meggs et al. Criminal Complaint (Dkt. 1), Affidavit in

Support (Dkt. 1-1), and Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against

Steele are publicly available documents that are hereby incorporated into the Complaint by

reference.

       39.    Defendant Henry “Enrique” Tarrio: Tarrio is a resident and citizen of the state

of Florida. Tarrio has been a member of the Proud Boys since 2017 and has been the Chairman—

the most senior role in, and the face of, the organization—since November 20, 2018. As the Proud

Boys’ Chairman, Tarrio, in coordination with the Proud Boys Elders, acts as the voice of the

organization on matters of public concern, according to the Proud Boys’ Bylaws.

       40.    Defendant Jessica Marie Watkins: Watkins is a resident and citizen of the state

of Ohio. Watkins is a member of the Oath Keepers. Watkins was criminally charged and indicted

for her role in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-00028-APM

(D.D.C. 2021). The Watkins et al. Criminal Complaint (Dkt. 1), Affidavit in Support (Dkt. 1-1),

and Caldwell, et al. Fifth Superseding Indictment (Dkt. 328) filed against Watkins are publicly

available documents that are hereby incorporated into the Complaint by reference.

       41.    Defendant Christopher John Worrell: Worrell is a resident and citizen of the

state of Florida. Worrell is a member of the Proud Boys. Worrell was criminally charged and

indicted for his role in perpetrating the January 6th Attack in US v. Worrell, No. 1:21-cr-00292-

RCL (D.D.C. 2021). The Criminal Complaint (Dkt. 1), accompanying Statement of Facts (Dkt.

1-1), and Indictment (Dkt. 31) filed against Worrell are publicly available documents that are

hereby incorporated into the Complaint by reference.

       42.    Defendant Graydon Young: Young is a resident and citizen of the state of Florida.

Young is a member of the Florida chapter of the Oath Keepers. Young was criminally charged



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and indicted for his role in perpetrating the January 6th Attack in US v. Caldwell, No. 1:21-cr-

00028-APM (D.D.C. 2021). Young subsequently pleaded guilty to the entire Statement of Offense

in the criminal action brought against him. The Criminal Complaint (Dkt. 1) and Affidavit in

Support (Dkt. 1-1) filed against Young—as well as Young’s Plea Agreement (Dkt. 249) and the

Statement of Offense (Dkt. 250) describing Young’s conduct—are publicly available documents

that are hereby incorporated into the Complaint by reference.

       43.     Defendants John and Jane Does 1−50: Upon information and belief, Defendants

John and Jane Does 1−50 are individuals whose names and addresses are unknown and who

planned, conspired to carry out, and executed the January 6th Attack. The District expressly

excludes from John and Jane Does 1−50 any citizens of the District.

       44.     Defendants Ashlock, Biggs, Bru, Caldwell, Chrestman, Colon, Crowl, DeCarlo,

Donohoe, Harrelson, Jackman, James, Klein, Kuehne, C. Meggs, K. Meggs, Minuta, Nordean,

Ochs, B. Parker, S. Parker, Pepe, Pezzola, Rehl, Schaffer, Scott, Steele, Tarrio, Watkins, Worrell,

Young, and John and Jane Does 1−50 are collectively referenced herein as the “Individual

Defendants.”

       45.     As alleged more fully below, the Individual Defendants conspired together and

participated in planning, promoting, financing, organizing, and carrying out the January 6th

Attack. Defendants Proud Boys and Oath Keepers also participated in the conspiracy, playing a

key role in the planning, promotion, financing, organizing, and carrying out of the January 6th

Attack by lending their experience—and in some cases, organizational resources—to the planned

January 6th Attack.

       46.     The Defendants are jointly and severally liable for the damages suffered by the

District as a result of their unlawful conspiracy.



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                                  JURISDICTION AND VENUE

        47.     The Court has jurisdiction over this action under 28 U.S.C. § 1331 and over the

District’s state law claims under 28 U.S.C. § 1367.

        48.     Additionally, and in the alternative, this Court has jurisdiction over this entire

action under 28 U.S.C. § 1332 because there is complete diversity among the parties and the

amount in controversy exceeds $75,000.

        49.     Venue is properly in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to Plaintiff’s claims occurred in this District.

                                   FACTUAL ALLEGATIONS

I.      Both the Proud Boys and the Oath Keepers Have a Long History of Inciting and
        Engaging in Coordinated Violence.

        50.     The violence perpetrated by the Proud Boys, Oath Keepers, their leadership, and

certain of their members and affiliates through the January 6th Attack—while unique in its severity

and scope—is far from an isolated occurrence.            Violence is an inextricable part of both

organizations and a common link between them.

        A.      The Proud Boys’ Organization and History of Violence

        51.     The Proud Boys is a U.S.-based group that has repeatedly and persistently

instigated, incited, and executed acts of violence and intimidation against their perceived enemies.

The Canadian government has designated the Proud Boys as a terrorist entity.

        52.     Violence has been a key component of the Proud Boys’ mission and conduct since

its creation. PBI’s original Constitution and Bylaws, which set forth the rules and procedures

governing the Proud Boys fraternal order, mandated that membership be limited to men who

undergo violent initiation rituals, including getting beaten by other members. The highest level of

membership, for example, required “a material sacrifice or service,” which Proud Boys founder



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Gavin McInnes has described as getting arrested or committing a violent act in support of the

Proud Boys. 4

        53.      As a result, when Proud Boys members assemble in large groups at public

demonstrations, violence becomes more likely.

        54.      The Proud Boys members have a long-standing practice of instigating and

committing acts of violence under the guise of self-defense by responding to small slights with

coordinated, brutal force.

        55.      For example, on October 12, 2018, 10 men connected to the Proud Boys were

arrested following violent attacks on protestors outside of the Metropolitan Republican Club on

the Upper East Side of Manhattan. The Proud Boys involved in those attacks punched, kicked,

and “stomped” four protestors who were wearing black clothes and masks. The Proud Boys later

claimed that their members were assaulted by these protestors, but security camera footage

revealed that a Proud Boys member initiated the street violence.

        56.      Similarly, in April 2019, Proud Boys members used messaging platforms to

coordinate and plan violence in advance of an April 2019 rally in Providence, Rhode Island. As

one of the Proud Boys instructed before that rally on the encrypted chat service, Telegram: “If

any contact is made with you, that’s assault. If they take your hat, spray you with silly string, spit,

push . . . . It’s assault. We need to have all our guys there before we retaliate though if we can.

The cops aren’t going to let us fight long. We need to inflict as much damage as possible in the

time we have.”




4
  In October 2018, as law enforcement sought members of the Proud Boys for their role in a fight outside the
Metropolitan Republican Club, Proud Boys leadership released a “clarified” set of bylaws that purported to contradict
the Proud Boys’ prior, violent rhetoric. The new language asserts: “Any requirement that a brother commit a violent
or illegal act as a condition precedent to receiving a fourth degree is, by this bylaw, abolished.”


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        57.    A few months later, in advance of an August 2019 rally in Portland, Oregon,

Defendant Biggs suggested that his cohort arm themselves and be prepared for violence. He posted

videos of himself holding a spiked baseball bat, telling the camera: “We’re going to put this to

good use.” He also posed wearing a t-shirt reading: “I’m Just Here for the Violence.”

        58.    On several occasions in August 2020, Proud Boys members violently confronted

protestors and others in Portland, Oregon, following the police killing of George Floyd in

Minneapolis. The Proud Boys came to the Oregon protests armed with bear mace, clubs, and

firearms. Proud Boys members engaged in multiple acts of violence at the protests, including, on

August 15, 2020, spraying a journalist with bear mace and, on August 22, 2020, charging and

severely beating protestors affiliated with the movement against police brutality.

        59.    The Proud Boys’ acts of violence are often anticipated, instigated, coordinated, and

encouraged by those elected to the organization’s leadership.

        60.    Under the group’s Bylaws, eight “brothers” are elected by the membership of the

Proud Boys fraternal order to lead the organization as “Elders.” These eight Elders (together, the

“Elders Chapter”) are tasked with taking “legal action on behalf of the fraternity,” holding

“property in the name of the national fraternity and collect[ing] suggested voluntary dues for the

benefit of the fraternity or for charity,” “establish[ing] organizations, funds or trusts to which both

members and non-members of the fraternity could contribute for charitable purposes,” and

generally serving as “the final authority on chapter status, membership criteria, and rituals of the

fraternity.”

        61.    The Elders Chapter is also responsible for electing the “Chairman of the Proud

Boys,” and, “through the Chairman, serving as the voice of the fraternity as a whole on matters of

public concern.”



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          62.   The Chairman holds the most senior role in the organization. The Bylaws of PBI

vest the Chairman with the sole authority to speak for the Proud Boys fraternal order, which

includes PBI, the Elders Chapter, and all other chapters established throughout the country.

          63.   The Proud Boys’ membership is controlled by local chapter leadership that reports

to national leaders. While the organization’s membership is not publicly disclosed, members

frequently self-identify on social media or by appearing at events organized by Proud Boys or their

affiliates, often in apparel that displays their affiliation, including clothing in the Proud Boys’

official colors, black and yellow.

          B.    The Oath Keepers’ Organization and History of Violence.

          64.   Oath Keepers is a militia movement group united by the view that the federal

government has been coopted by a nefarious group trying to strip United States citizens of their

rights.

          65.   Oath Keepers and its members galvanize their supporters by perpetuating perceived

threats posed by the federal government, including that the federal government will use a major

destabilizing event—like a pandemic or terrorist attack—as an excuse to institute martial law,

force citizens into detention camps, and strip them of their right to keep and bear arms in order to

enslave them under a one-world socialist government, which its members refer to as the “The New

World Order.”

          66.   Oath Keepers and its members present themselves as a bulwark and a militia against

these imagined and manufactured threats. The group’s members are known for being heavily

armed, and for being willing to engage in armed confrontations with the government and with

people and groups they perceive as supporting government actions, including people who have

political beliefs that differ from those of Oath Keepers.




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       67.      The rules and procedures governing Oath Keepers are set forth in the group’s

Bylaws.

       68.      Oath Keepers leadership—including the Board of the Oath Keepers, which is made

up of the founder of the organization, Stewart Rhodes, and at least 10 additional trustees—has

repeatedly urged its members to be prepared to fight in what they perceive to be an impending

civil war.

       69.      In addition to national leadership, on the local level, many Oath Keepers self‐

organize and form official, semi‐official, or informal groupings of Oath Keepers.          Rhodes

described the “action arm of the Oath Keepers” to be county-level and urged local militias to self-

organize.

       70.      Oath Keepers members and affiliates often demonstrate their commitment to the

organization by evincing a willingness to engage in armed confrontation. One Oath Keepers

member justified the use of these tactics, noting: “I like to use the Revolutionary War as an

example. The militias were there, well-armed and organized, not looking to pick a fight but ready

when it happened.”

       71.      Like members and affiliates of the Proud Boys, members and affiliates of Oath

Keepers have been arrested in connection with, and convicted of, a wide range of violent criminal

activities, including various firearms violations, conspiracy to impede federal workers, possession

of explosives, and threatening public officials.

       72.      In 2010, Oath Keepers member Matthew Fairfield was sentenced to 20 years in

prison for storing a live napalm bomb at his home and for storing other explosives at his friend’s

home in Ohio.




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       73.      In 2014, members of Oath Keepers participated in an armed standoff at the Bundy

Ranch in Nevada. Members came from Arizona and New Hampshire to take up an armed defense

of Cliven Bundy, a Nevada rancher who was defying an order from the federal Bureau of Land

Management to remove his animals from federal land. The members of Oath Keepers who joined

Bundy aimed their weapons at Bureau of Land Management agents until the agents retreated from

the standoff.

       74.      The same year, members of Oath Keepers came to Ferguson, Missouri, when the

city was under a state of emergency after the police shooting of Michael Brown. Oath Keepers

members in Ferguson claimed to be protecting private businesses from looting and arson. They

took tactical positions on top of buildings while armed with firearms in positions across the city.

The group eventually dispersed, but only after local police threatened arrest.

       75.      Members of Oath Keepers reconvened in Ferguson on the anniversary of Michael

Brown’s death in 2015, dressed in military garb and openly brandishing firearms in the streets after

officials had declared a state of emergency.

       76.      Also in 2015, a federal grand jury indicted a member of Oath Keepers, Daniel

Hayden, for tweeting threats of a violent attack on Oklahoma state government officials, writing

“the WAR wWIL [sic] start on the stepes [sic] of the Oklahoma State Capitol. I will cast the first

stone…” and “START THE KILLING NOW!”

       77.      On August 8, 2018, Oath Keepers announced and began to raise funds for its new

“Spartan Training Group,” which was established to train as a vigilante force. As Oath Keepers

described:

                Our goal is to form training groups in as many states as possible. To
                join your local training group, membership in Oath Keepers will not
                be required, but will be encouraged. In the era of the Founding
                Fathers, they formed “training bands” with the express goal of


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               training the public up to the high standards of the militia. The
               Spartan program is the modern equivalent. Our qualified and
               experienced military, law enforcement and first responder veterans
               will train the American people up to a similar high standard. Such
               individuals will form a pool of trained, organized volunteers who
               will be able to serve as the local militia under the command of
               a patriotic governor loyal to the Constitution, or if called upon by
               President Trump to serve the nation.

               Short of being called upon by the President, governor, local Sheriff,
               or to provide disaster relief, members will be trained to serve as
               volunteer security for local events, churches and effective
               neighborhood watches for their communities.

       78.     During the summer of 2020, Oath Keepers leader and founder Stewart Rhodes

encouraged members of Oath Keepers to make a showing of force at demonstrations against police

brutality. Oath Keepers who attended those events were a self-appointed vigilante force to protect

businesses and private property, wearing military gear and carrying weapons in an effort to

intimidate the demonstrators.

       79.     A founding, lifetime member of Oath Keepers—Defendant Jon Ryan Schaffer—

was the first person to plead guilty to criminal charges arising from the January 6th Attack.

Schaffer pleaded guilty to two felony offenses: (1) trespass of the Capitol while armed with a

deadly or dangerous weapon, and (2) obstruction of an official proceeding of Congress.

       80.     In connection with his plea deal, Schaffer admitted to the contents of a Statement

of Offense, which included an admission that he unlawfully entered the Capitol building on

January 6th “with the purpose of influencing, affecting, and retaliating against the conduct of

government by stopping or delaying the Congressional proceeding by intimidation or coercion.”

II.    The Proud Boys’ and Oath Keepers’ Efforts to Incite Coordinated Violence
       Coalesced around the 2020 Presidential Election.

       81.     The Proud Boys and Oath Keepers used the lead-up to the 2020 Presidential

Election—and the immediate aftermath of former President Donald Trump’s loss—to recruit new



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members, threaten their detractors with violence, and mobilize forces to engage in acts of violence,

including in connection with their ultimate conspiracy to commit the January 6th Attack.

       A.      Before the Election, the Proud Boys, Oath Keepers, Their Leadership, and
               Some of Their Members and Affiliates Readied Themselves to Incite
               Violence.

       82.     In the weeks leading up to the 2020 Presidential Election, the Proud Boys, Oath

Keepers, their leadership, and certain members and affiliates of both groups openly advertised

their willingness to use violence to support their political agenda, including their efforts to reelect

then-President Trump.

       83.     On September 29, 2020, during the first presidential debate of his reelection

campaign, President Trump specifically addressed the Proud Boys, stating: “Proud Boys, stand

back and stand by, but I’ll tell you what, somebody’s got to do something about Antifa and the

left, because this is not a right-wing problem. This is a left-wing problem.”

       84.     During and following the debate, the Proud Boys leadership immediately took to

the social media application Parler to show support for a violent response following President

Trump’s statement.

       85.     Consistent with the organizational Defendants’ plan to leverage President Trump’s

rhetoric to mobilize the groups’ followers, Defendant Biggs, a prominent Proud Boys leader,

publicly interpreted President Trump’s words on Parler, suggesting that the President’s words

should be interpreted to encourage violence: “Trump basically said to go fuck them up! [T]his

makes me so happy.” Proud Boys’ Chairman Enrique Tarrio echoed Biggs’s sentiment, posting:

“Standing by sir.”

       86.     Oath Keepers saw its members as a militia that could be “called forth ‘to execute

the Laws of the Union, suppress Insurrections and repel Invasions,’” including to preserve former




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President Trump’s power: “All he has to do is call us up. We WILL answer the call.” Consistent

with this messaging, Oath Keepers pledged to have “volunteer security teams” at Trump rallies

and on Election Day to “protect” Trump voters.

           87.   Based on past behavior, Oath Keepers members were willing to uphold that pledge

using violence. On October 20, 2020, in an online chat room for members of Oath Keepers,

members discussed their course of action if President Biden were to be elected. As one member

made clear, the plan would include “[c]hoos[ing] a side and fight[ing], looking down the sights of

a rifle at our fellow Americans.”

           88.   Oath Keepers publicly trumpeted the idea that members were standing ready to

engage in a civil war, tweeting from the group’s account: “We ARE on the verge of a HOT civil

war. Like in 1859. That’s where we are. And the Right has ZERO trust or respect for anything

the left is doing. We see THEM as illegitimate too.”

           B.    After the Election, The Proud Boys, Oath Keepers, Their Leadership, and
                 Some of Their Members and Affiliates Used President Trump’s Loss to
                 Recruit New Members.

           89.   On November 4, 2020, President Trump falsely declared that he had won the

presidential election, even though a significant number of votes had yet to be counted. On

November 7, 2020, most media outlets began projecting President Biden as the winner of the 2020

presidential election.

           90.   After President Trump’s loss, the Proud Boys and Oath Keepers immediately began

trumpeting their plans to bring terror and violence to the District and recruiting others to join their

efforts.

           91.   On November 7, 2020, the Proud Boys’ Chairman, Enrique Tarrio, posted to Parler,

“we’re rolling out” and stated that former President Trump’s “Standby order has been rescinded.”




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Also on November 7, 2020, Proud Boys member Daniel Goodwyn, who would eventually join the

Defendants on January 6, 2021, posted on Twitter: “Stand back and stand by! Show up at your

state Capitol at noon today local time.          Await orders from our Commander in Chief.

#StopTheSteal!”

       92.     The Oath Keepers also increased efforts to recruit new members. On November 9,

2020, Oath Keepers member Defendant Watkins sent text messages to individuals who had

expressed interest in joining the paramilitary group she formed, which she called the “Ohio State

Regular Militia.” In these messages, Watkins stated, among other things, that the militia had a

week-long “Basic Training class coming up in the beginning of January,” and Watkins told one

recruit, “I need you fighting fit by innaugeration [sic].” Watkins told another individual: “It’s a

military style basic, here in Ohio, with a Marine Drill Sergeant running it.” The same day, Watkins

also asked a recruit to download Zello, an app that allows a cellphone to operate like a push-to-

talk walkie-talkie, saying her group uses it “for operations.”

       93.     Also on November 9, 2020, several Oath Keepers members attended an online

meeting on GotoMeeting where Oath Keepers leader Rhodes said: “We’re going to defend the

president, the duly elected president, and we call on him to do what needs to be done to save our

country. Because if you don’t guys, you’re going to be in a bloody, bloody civil war, and a bloody

– you can call it an insurrection or you can call it a war or fight.” Rhodes further called upon his

followers to go to the District to let President Trump know “that the people are behind him.” He

continued, “I do want some Oath Keepers to stay on the outside, and to stay fully armed and

prepared to go in armed, if they have to. . . . So our posture’s gonna be that we’re posted outside

of DC, um, awaiting the President’s orders. . . . We hope he will give us the orders. We want him

to declare an insurrection, and to call us up as the militia.”



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       94.      Oath Keepers member Hackett and Defendants Harrelson, Watkins, K. Meggs, and

others attended the meeting hosted by Rhodes. After Rhodes finished speaking, Watkins and K.

Meggs asked questions and made comments about the types of weapons that were legal in the

District of Columbia. The same day, K. Meggs posted on Facebook, lamenting that he saw people

“talking” but not “doing.” K. Meggs invited others to contact him if they wished to “join the

fight”: “This fight is face to face, not far away. If your [sic] ready to really join the fight [direct

message] me.”

       95.      On November 16, 2020, Defendant Nordean posted that “[a]ny militia groups” in

the Pacific Northwest area should contact him on an encrypted social media application to

coordinate.

       96.      On November 17, 2020, an Oath Keepers’ recruit asked Defendant Watkins what

she thought would happen in 2021. Watkins responded that “Biden may still yet be our President.

If he is, our way of life as we know it is over. Our Republic would be over. Then it is our duty as

Americans to fight, kill, and die for our rights.”

       97.      On November 23, 2020, Defendant Caldwell sent a text message to Defendant

Watkins previewing the violence to come. Caldwell remarked: “I don’t know what will happen

but like you I am very worried about the future of our country.” He continued: “I believe we will

have to get violent to stop this, especially the antifa maggots who are sure to come out en masse

even if we get the Prez for 4 more years. Stay sharp and we will meet again. You are my kinda

person and we may have to fight next time. . . .”

       98.      On December 3, 2020, Defendant Young emailed a membership application to the

Oath Keepers’ Florida chapter, writing that he was “looking to get involved in helping.” Another

Oath Keeper, Joseph Bernard Hackett, responded on December 19, 2020, stating: “I believe we



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only need to do this when important info is at hand like locations, identities, Ops planning.”

Hackett attached a photo to the email of a notepad with cursive writing stating: “Secure Comms

Test. Good talk tonight guys! Rally Point in Northern Port Charlotte at Grays if transportation is

possible. All proton mails [(a type of encrypted email service)]. May consider a [rally point] that

won’t burn anyone. Comms – work in progress. Messages in cursive to eliminate digital reads.

Plans for recruitment and meetings.”

        99.       On December 19, 2020, Young started to recruit new Oath Keepers members

himself, posting in a Facebook group: “Please check out Oath Keepers as a means to get more

involved. Recruiting is under way. [Direct message] me if you want more info.”

        C.        The Proud Boys, Oath Keepers, Their Leadership, and Certain of Their
                  Members and Affiliates Used Coordinated Violence at Post-Election Events
                  to Intimidate the Public and the Government.

        100.      The Proud Boys’ and Oath Keepers’ coordination efforts escalated with both groups

mobilizing large forces to wreak havoc on the District at post-election events that previewed the

January 6th Attack.

        101.      The first of these events was the “Million MAGA March,” which was held on

November 14, 2020, and attended by Oath Keepers, Proud Boys, and members and affiliates from

both groups. Violent clashes between self-identified Proud Boys members and protestors broke

out that night.

        102.      The violence increased at the next event: the “Stop the Steal” rally held on

December 12, 2020.       Oath Keepers and Proud Boys attended the rally in droves.          In one

particularly disturbing incident on the National Mall, a large group of Proud Boys surrounded a

man and punched and kicked him.




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       103.    After engaging in violence against protestors, law enforcement, and others, the

Proud Boys fanned out across the city to steal and deface anti-racism signs that had been posted

by District residents and businesses. They publicly vandalized and destroyed these signs—

including at least one that Defendant Tarrio took credit for lighting on fire—while their supporters

celebrated. See Figure 1.




           Figure 1. Proud Boys members burn racial justice banners in the District

       104.    During the “Stop the Steal” rally, Oath Keepers leader and founder Stewart Rhodes

gave a speech on behalf of Oath Keepers in which he called on President Trump to invoke the

Insurrection Act to prevent President Biden from taking office.

       105.    He threatened that if President Trump failed to do so, “[w]e’re going to have to do

it ourselves later, in a much more desperate, much more bloody war.”

III.   Defendants Conspire to Deploy Violent Forces in the District in an Effort to
       Frustrate and Undermine the Formal Process Required to Declare a Presidential
       Election Winner.

       106.    Following the Stop the Steal Rally, Proud Boys and Oath Keepers members openly

acknowledged an alliance between their two groups and began to plan and coordinate violence,

hoping to maximize their impact through joint efforts on January 6th.




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       A.      The Defendants Agreed to Form an Alliance and Coordinate Their Actions
               for the Planned January 6th Event.

       107.    On December 19, 2020, at 1:42 a.m., President Trump announced a January 6,

2021, rally in the District, tweeting: “Big protest in D.C. on January 6th. Be there, will be wild!”

       108.    The date of the rally was not a coincidence: January 6, 2021, was the date on which

members of Congress and the Vice President, as President of the Senate, were required by certain

provisions of the U.S. Constitution and Electoral Count Act of 1887 to count the certified electoral

votes and formally declare the winner of the presidential election.

       109.    President Trump’s supporters, including Defendants and Defendants’ affiliates,

took to social media, amplifying President Trump’s message, interpreting the tweet as “marching

orders” for Defendants’ scheme to frustrate the final process in the presidential election:

               •   “Well, shit. We’ve got marching orders, bois [sic].”

               •   “That’s a marching order if I ever heard one…”

               •   “THE COMMANDER IN CHIEF HAS ISSUED HIS ORDERS. JANUARY
                   6TH. WASHINGTON D.C.”

               •   “No excuses . . . GEOTUS [“God Emperor of the United States”] ISSUED US
                   OUR MARCHING ORDERS!”

               •   “If you’ve been waiting for a signal, THAT’S IT.”

       110.    The Proud Boys and Oath Keepers immediately began working together to

coordinate their efforts at the planned January 6th Attack. On December 19, 2020, Defendant K.

Meggs of the Oath Keepers stated that he had formed an alliance with the Proud Boys and other

groups to “work together” and “shut this shit down.” See Figure 2.




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Figure 3. Defendant K. Meggs discusses plans for violence, including that he is in contact with
                                          the Proud Boys.

       114.   On the same day, K. Meggs further stated that he would be going to the Capitol to

“make it WILD” and encouraged other members to join him, saying “Gentlemen we are heading

to DC pack your shit!!”

       115.   On December 25, 2020, Defendant K. Meggs posted another Facebook message

discussing communications with Proud Boys leadership and how Oath Keepers had “orchestrated

a plan with the [P]roud [B]oys.” See Figure 4.




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and weapons, and planning and organizing travel for themselves and their co-conspirators. These

efforts began well before January 6th. 6

                 1.       The Defendants Recruited Participants for the Attack.

        118.     The Defendants’ efforts to recruit co-conspirators—which began following the

2020 Presidential election—intensified as January 6th approached.

        119.     Between December 12, 2020 and January 3, 2021, Oath Keepers member

Defendant K. Meggs organized approximately 10 online meetings on GoToMeeting, titled “se

leaders dc 1/6/21 op call,” “dc planning call,” and “florida dc op planning chat.” K. Meggs used

the code name “Gator 1” in these meetings. Oath Keepers member Defendant Harrelson also

participated in these meetings.

        120.     At the same time, Proud Boys Chairman, Defendant Tarrio, began identifying

himself as a “war time” leader and changed his Parler display name to “Wartime Tarrio.” By the

end of the month, in posts on Parler and Telegram, Tarrio bragged that Proud Boys had already

stopped using a particular hotel as a “hub” in light of the group’s growing size: “With the new

ability I’ve been able to put 1000 boots on the ground we outgrew any single hotel.”

        121.     Defendant Nordean also used social media to recruit Proud Boys members and

supporters. In early December, he posted, “You can take a hard stand now, or watch as everything

we’ve all built crumble before your eyes and have nothing to leave your children. Enough is

enough.” By the end of the month, Nordean’s message on social media was clear: “Fight now, or

lose everything.”




6
 For example, a video posted online by Proud Boys leader Defendant Biggs on January 3, 2021, described the Proud
Boys’ approach to planning its events as follows: “When we set out to do an event, we go alright, what is our main
objective? And that’s the first thing we discuss. We take three months to plan an event. And we go, what’s our main
objective? And then we plan around that, to achieve that main objective, that goal that we want.”


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               2.      Defendants Coordinated Strategies to Disguise Their Identities and
                       Plans for the Attack.

       122.    Defendants’ coordination was not limited to recruiting participants for the Attack;

they also planned strategies to allow them to blend into the crowd and to communicate privately

about the Attack. These efforts were intended to give Defendants a tactical advantage against law

enforcement when they convened in the District on January 6, 2021.

       123.    In December 2020 and January 2021, the Proud Boys announced on social media

that they would attend the January 6, 2021, rally “incognito.” As Proud Boys leader Defendant

Biggs explained in a social media post in December 2020, the Proud Boys would come to the

District not “in colors” (i.e., the traditional black and yellow worn by Proud Boys members), but

disguised to blend in with other demonstrators in the District.

       124.    Other members of the Proud Boys made similar posts promoting the same

“incognito” tactic.

       125.    On December 29, 2020, Proud Boys Chairman Tarrio posted to Parler announcing

that members of the Proud Boys would “turn out in record numbers on Jan 6th but this time with

a twist . . . . We will not be wearing our traditional Black and Yellow. We will be incognito and

we will be spread across downtown DC in smaller teams. And who knows . . . . we might dress in

all BLACK for the occasion.” Law enforcement investigating the January 6th Attack have

attributed Tarrio’s statement about dressing in black as a reference to dressing like “antifa,” whom

the Proud Boys have pegged as their enemy and who are often depicted in the media as dressing

in all black when attending demonstrations.

       126.    In the same post, Tarrio instructed Proud Boys members to (i) “spread across

downtown D.C. in smaller teams” than in the past, (ii) “conceal your intentions,” (iii) “pose as a

friend, work as a spy,” (iv) “crush your enemy totally,” and (v) “keep others in suspended terror.”


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         127.    The same day, Defendant Biggs, another Proud Boys leader, posted a similar

message on Parler: “[W]e will not be attending DC in colors. We will be blending in as one of

you. You won’t see us. You’ll even think we are you . . . . We are going to smell like you, move

like you, and look like you. The only thing we’ll do that’s us is think like us! Jan 6th is gonna be

epic.”

         128.    Defendants also coordinated their strategic methods for secret communication

before and during the Attack. For example, on or around January 3, 2021, Defendants Watkins,

K. Meggs, Young, and Harrelson and other Oath Keepers joined an invitation-only encrypted

Signal group message entitled “OK FL DC OP Jan 6.” Similarly, Defendant James acknowledged

communicating with a fellow Oath Keeper using a burner phone. 7

         129.    Defendant Young later admitted in his plea agreement that he and others conspiring

to thwart the certification of the presidential election “discussed the need to maintain operational

security and accordingly used encrypted messaging applications to communicate with one

another.”

                 3.       The Defendants Coordinated Collection of Weapons and Tactical
                          Supplies for the Attack.

         130.    On December 25, 2020, Defendant K. Meggs shared a list of provisions on

Facebook regarding how to prepare for the planned violence in the District on January 6th. K.

Meggs wrote: “DC is no guns. So mace and gas masks, some batons. If you have armor that’s

good.” In the same post, K. Meggs said: “You can hang with us [Oath Keepers] we will probably




7
 A burner phone is an inexpensive, prepaid mobile phone that can be discarded or destroyed when it is no longer
needed. Burner phones can be used to avoid detection by authorities and are difficult to trace and track. They are
commonly purchased with cash to avoid creating a paper trail that would tie the phone number to a specific person.



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be guarding [redacted] or someone during the day but then at night we have orchestrated a plan

with the proud boys. I’ve been communicating with [redacted] the leader[.]”

       131.    Defendant Rhodes told Defendants K. Meggs, Watkins, and other Oath Keepers to

bring “collapsible batons,” “good hard gloves,” “eye protection,” and helmets. Similarly, K.

Meggs messaged at least one other participant to tell them to bring “mace,” “gas masks,” “batons,”

and “armor.”

       132.    Other co-conspirators—including Defendants Watkins and Caldwell and their Oath

Keepers cohorts—discussed transporting guns across state lines. And on January 1, 2021, Oath

Keepers member Defendant James messaged an individual on Signal inquiring about bringing

guns into the District. James wrote: “We[’]re working on a Farm location[.] Some are bringing

long rifles some sidearms. . . . I’m bringing sidearm.”

       133.    The Oath Keepers also created the Quick Reaction Force as a way to bring

additional weaponry and firearms to the Capitol in the event that violent clashes broke out or if

they were called to act by President Trump. Before January 5, 2021, Oath Keepers member

Jonathan Conrad Walden applied to be part of the January 6th Oath Keepers operation, emailing,

“I am interested in the [Quick Reaction Force] team in D.C. I am a former Firefighter, EMT-B

and have a K-9 trained for security patrol (82 lb. German Shepherd named ‘Warrior’). I have a

Jump Bag with Trauma supplies and have ALL the necessary [Second Amendment] gear that the

situation may require. PLEASE ADVISE. As soon as I hear from you I can hit the road to join

up!”

       134.    Additionally, in the days leading up to the January 6th Attack, Proud Boys members

and affiliates also obtained tactical vests and military-style communications equipment which

could be used during the siege on the Capitol. At the same time, self-described Proud Boys



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“Sergeant-at-Arms” Defendant Nordean used social media to solicit donations of “protective gear”

and “communications equipment” for use in the Attack.

               4.     The Defendants Coordinated Travel to the District.

       135.    Defendants and their co-conspirators also coordinated their plans to travel to and

stay in or near the District for the Attack, including by using coordinated efforts to raise money

online to cover transportation and accommodations costs.

       136.    Defendants’ planning, promotion, and coordination efforts leading to the January

6th Attack also extended to travel logistics, as they sought to ensure that the co-conspirators

traveled together or had nearby hotel accommodations to allow for additional in-person

coordination before convening near the Capitol on January 6, 2021.

       137.    Defendants Caldwell, Watkins, S. Parker, B. Parker, K. Meggs, and C. Meggs

coordinated their travel, convening at the Comfort Inn Ballston in Arlington, Virginia, each

reserving and paying for hotel accommodations for multiple individuals traveling with them to

join in the January 6th Attack. In a social media message, Defendant Caldwell confirmed that this

is where he would be “Meeting up with Oathkeepers [sic] from North Carolina and Patriot group

from the Shenandoah Valley.”

       138.    On December 31, 2020, an individual contacted Defendant James via Signal stating

“i have friends not far from DC with a lot of weapons and ammo if you get un trouble i ca. [sic]

Coordinate help.” James responded: “That might be helpful, but we have a shitload of [Quick

Reaction Force] on standby with an arsenal.”

       139.    Later that day, Defendant James messaged another individual and asked if they

“have a farm location for weapons[.]” The individual responded, “Not that I am aware of yet. If

nothing else, my hotel is in VA and has secured underground parking. About 15-20 minutes




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outside DC, less if you really don’t care about speed limits… would be great if we had someone

with an enclosed truck type vehicle and had a quick response unit just outside the city.” Defendant

James responded, “I agree.”

       140.    On January 1, 2021, Defendant Caldwell sent a message to Defendant Crowl

recommending a room at the Comfort Inn Ballston for January 5-7, 2021, writing: “This is a good

location and would allow us to hunt at night if we wanted to. I don’t know if Stewie has even

gotten out his call to arms but its [sic] a little friggin late. This is one we are doing on our own.

We will link up with the north Carolina [sic] crew.”

       141.    Oath Keepers member Defendant Crowl wrote to Defendant Caldwell: “Happy

New year, to you Sir!! Guess I’ll be seeing you soon. Will probably call you tomorrow…mainly

because…I like to know wtf plan is. You are the man Commander.” Around that time, Defendant

Crowl was traveling to the Washington, D.C. area from Ohio, along with Defendants Watkins, S.

Parker, and B. Parker. In another message, Defendant Crowl separately confirmed the reason for

his trip: “been busy planning for this week. . . . We are enroute [sic] to DC right now for a few

days on an Oathkeepers Op.”

       142.    On January 2, 2021, Defendant Caldwell wrote to Defendant Crowl: “Check with

Cap. I recommended the following hotel to her which STILL has rooms (unbelieveble) [sic].”

Defendant Caldwell then sent a link to the Comfort Inn Ballston, the same hotel that he

recommended to others.

       143.    As Defendant Caldwell explained further: “Sharon and I are setting up shop there.

Paul has a room and is bringing someone. He will be the quick reaction force. Its [sic] going to

be cold. We need a place to spend the night before minimum. . . . I will probably do pre-strike on

the 5th though there are things going on that day. Maybe can do some night hunting. Oathkeeper



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[sic] friends from North Carolina are taking commercial buses up early in the morning on the 6th

and back same night. Paul will have the goodies in case things go bad and we need to get heavy.”8

           144.     Defendant C. Meggs has since confessed that she attended a firearms class with

Defendants K. Meggs and Harrelson in preparation for the January 6th Attack.

           C.       As January 6th Neared, the Defendants’ Promotion of the Attack Became
                    Increasingly Fervent.

           145.     Defendants’ promotion of the January 6th Attack reached a fever pitch as the day

approached.

           146.     Defendant Caldwell took to social media: “It begins for real Jan 5 and 6 on [sic]

Washington D.C. when we mobilize in the streets. Let them try to certify some crud on Capitol

Hill with a million or more patriots in the streets. This kettle is set to boil.”

           147.     On January 1, 2021, Defendant Caldwell explained on social media that he would

no longer make efforts to act peacefully: “I swore to support and defend the Constitution of the

United States against all enemies foreign and domestic. I did the former, I have done the latter

peacefully but they have morphed into pure evil even blatantly rigging an election and paying off

the political caste. We must smite them now and drive them down.”

           148.     On January 3, 2021, Proud Boys Chairman, Defendant Tarrio, shared a post to

7,000 followers on the app Telegram, asking: “[w]hat if we invade it?” The first reply answered:

“January 6th is D day in America.”

           149.     Proud Boys leader Defendant Biggs also posted to Parler: “Every law makers [sic]

who breaks their own stupid Fucking laws should be dragged out of office and hung.”




8
    Among others, Defendants Young and Steele traveled to the District together from North Carolina.


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           150.   On January 3, 2021, Defendant K. Meggs stated that people should “tell [their]

friends this isn’t a Rally!” making explicit that he was preparing for something other than a mere

protest.

           151.   On January 4, 2021, K. Meggs followed up his January 3 message by expressing

his contempt for District police officers on Facebook, writing, “Fucking DC cops protect those

antifa fuckers though pisses me off.”

           152.   Also on January 4, 2021, Oath Keepers issued a public call on the group’s official

website for “patriots” to come to the District “to stand tall in support of President Trump” and

“[p]repare to do whatever must be done to honor our oaths to defend the Constitution against all

enemies, foreign and domestic . . . whatever happens.”

           153.   By January 5, 2021, members of the Proud Boys and Oath Keepers made good on

their plans and descended on the District.

           154.   That night, Defendant Biggs sent instructions to his co-conspirators using the

secure “Boots on the Ground” channel—an encrypted messaging channel with more than 60 users

used to disseminate orders and otherwise engage in acts of coordination—telling them to “avoid

getting into any shit” the night before the planned attack, because “[t]omorrow’s the day.” Biggs

continued, “Just trying to get our numbers. So we can plan accordingly for tonight and tomorrow’s

plan.” Later, he reiterated: “We have a plan.”

           D.     The Defendants Were Not Deterred by Law Enforcement Efforts to Control
                  and Prevent Their Planned Violence.

           155.   In response to the Defendants’ rhetoric and messaging around the January 6th

“rally,” including the many promises for violence, law enforcement officials made substantial

efforts to disrupt and prevent the planned violence in advance.




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         156.     For example, on January 4, 2021, as Defendant Tarrio arrived in the District for the

January 6th Attack, MPD officers arrested him for his role in the burning of a church banner after

the December 12, 2020, Stop the Steal Rally. While arresting Tarrio, MPD officers discovered

two illegal high-capacity firearm magazines bearing the gold Proud Boys insignia. Defendant

Tarrio’s high-capacity magazines were compatible with AR-16 and M4 rifles. Defendant Tarrio

was immediately ordered to stay away from the District pending his criminal trial. 9 This prevented

him from being in the District on January 6th—and should have deterred those intent on

committing violent acts at the January 6th “rally.”

         157.     Law enforcement officials in surrounding areas also advised residents not to engage

in or join the planned “rally.” For example, the County Executive for Montgomery County,

Maryland, which neighbors the District, released a statement on the morning of January 5, 2021,

warning residents not to put themselves in harm’s way by joining what “w[ould] not be ordinary

protests,” explaining: “Protest organizers and the groups they represent have shown an alarming

affinity for violence. Sadly, they have not been shy about suggesting the need for violence. There

is talk of disrupting the counting of votes in Congress, which would require extreme actions. This

could create a volatile situation that may get out of hand, and we do not want people putting

themselves in harm’s way. . . . If there is an effort to disrupt the vote count, which would require

an attempt to prevent the actual counting in Congress, there will be a confrontation.”

         158.     Similarly, on January 5, 2021, the Federal Bureau of Investigation (“FBI”) issued

a warning that it had intelligence that extremists from several states would be traveling to the

District to commit violence and “war” on January 6, 2021.


9
  In litigation concerning that order, the D.C. Court of Appeals observed that Defendant Tarrio’s “conduct and
statements in this case evince an inability to appreciate the difference between lawful protest and criminal activity
under the laws of the District of Columbia; he has telegraphed his intentions to incite or participate in further criminal
activity if permitted to return to the District. . . .”


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        159.    The FBI’s Norfolk, Virginia field office warned that these individuals had been

sharing a map of the Capitol and its tunnels and were convening in the areas from several states.

        160.    Proud Boys leaders proceeded with their plans. Although advised by a Proud Boys

member in an ongoing group chat on Telegram that participants “[s]houldn’t be typing plans to

commit felonies into your phone,” those on the chat demonstrated the Proud Boys members’ intent

to coordinate their activities on January 6th. Proud Boys member Defendant Donohoe explained

in the chat that “details will be laid out at the pre-meeting.”

        161.    In another Parler message group, which included Proud Boys leaders and members

including Defendants Nordean, Biggs, and Donohoe, the parties continued to convey their intent

to cause violence in the District on January 6th, suggesting that they planned to “smash” police to

dust and “burn [the] city to ash today.” Defendant Donohoe responded, “I’m leaving with a crew

of 15 at 0830 to hoof it to the monument no colors.”

        E.      The Defendants Launched the January 6th Attack To Target Officials
                Charged with Certifying Electoral College Votes and Declaring a
                Presidential Election Winner.

        162.    The Defendants’ conspiracy, which culminated in the January 6th Attack, targeted

in part a process established by federal law to count the certified electoral votes and formally

declare the winner of the Presidential election.

        163.    Once popular votes for President and Vice President have been cast, certain

provisions of the U.S. Constitution together with the Electoral Count Act of 1887 create official

duties both for members of Congress and the Vice President, as President of the Senate.

        164.    Specifically, after voting for the presidency has concluded, and after presidential

Electors compile, sign, and certify lists of votes, the certified lists are transmitted to the seat of the

government of the United States, directed to the President of the Senate. U.S. Const. amends. XII,




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XXIII. At that point, “[t]he President of the Senate shall, in the presence of the Senate and House

of Representatives, open all the certificates and the votes shall then be counted.” Id. amend. XII.

        165.    The Electoral Count Act of 1887 provides that “Congress shall be in session on the

sixth day of January succeeding every meeting of the electors.” 3 U.S.C. § 15. The statute sets

out a detailed process that requires a joint meeting of the “Senate and House of Representatives . . .

in the Hall of the House of Representatives at the hour of 1 o’clock in the afternoon on that date”

during which “the President of the Senate [opens] all the certificates and papers purporting to be

certificates of the electoral votes . . . ” of each State. Id.

        166.    After pre-appointed tellers from the Senate and House of Representatives read the

certificates of electoral votes “in the presence and hearing of the two Houses,” the law provides

that the tellers “shall make a list of the votes as they shall appear from the said certificates.” Id.

§ 15. Once the votes have been “ascertained and counted” pursuant to this process, “the result of

the same shall be delivered to the President of the Senate, who shall thereupon announce the state

of the vote, which announcement shall be deemed a sufficient declaration of the persons, if any,

elected President and Vice President of the United States[.]” Id.

IV.     Defendants Assemble Forces in the District for Their January 6th Attack.

        167.    On January 6, 2021, the Proud Boys, Oath Keepers, and their members and

affiliates—including the Individual Defendants—attended President Trump’s rally and prepared

for violence.

        168.    Earlier that morning, the vast majority of the Individual Defendants and other

currently unidentified John and Jane Doe Defendants, along with their Proud Boys and Oath

Keepers co-conspirators, traveled together or otherwise convened in the District, congregating in

groups and readying themselves for action.




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        169.    At approximately 11:25 a.m., a YouTube video from Proud Boys member and live-

streamer Eddie Block showed members of the Proud Boys lining up before the Attack, shouting

out their home states. Proud Boys leader Defendant Biggs is shown organizing Proud Boys

members and speaking into a walkie-talkie. Defendant Nordean is shown speaking to the group

through a bullhorn. Defendant Scott is captured in Block’s video footage shouting “let’s take the

fucking Capitol!” In response, another Proud Boys member chastised Defendant Scott for talking

about their plan, saying “don’t yell it, do it.”




   Figure 5. Image from video capturing Defendant Scott’s direction to other Proud Boys on
                                             January 6th

        170.    At 12:17 p.m., President Trump directed his supporters to the Capitol. “We’re

going to walk down to the Capitol—and we’re going to cheer on our brave senators and

congressmen and women, and we’re probably not going to be cheering so much for some of them,”

President Trump said.




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       171.    At this point, the Defendants, who were stationed throughout the crowd, began to

tell others that the time to break into the Capitol had come, yelling: “YEAH! LET’S TAKE THE

CAPITOL!”

       172.    For his part, President Trump called the crowd to action, using his position to echo

and amplify the message Defendants had already started to send out: “You’ll never take back our

country with weakness. You have to show strength, and you have to be strong.”

       173.    Again, the crowd responded: “YES! STORM THE CAPITOL! INVADE THE

CAPITOL BUILDING! Let’s take the Capitol! Right now!!”

       174.    Twenty minutes before President Trump’s speech concluded, members of Oath

Keepers, including Defendant Watkins, left the “rally” and began marching toward the Capitol.

       175.    As President Trump’s comments neared their conclusion, his rhetoric fanned the

flames that Defendants had ignited, imploring the crowd to “fight like hell” or risk losing the

country: “Something is wrong here, something is really wrong, can’t have happened and we fight,

we fight like hell, and if you don’t fight like hell, you’re not going to have a country anymore.”

The crowd chanted in response: “FIGHT LIKE HELL!”

       176.    At 1:11 p.m., President Trump concluded: “So let’s walk down Pennsylvania

Avenue.” Proud Boys member and live-streamer Eddie Block filmed his co-conspirators’ actions

during President Trump’s speech, including Proud Boys leader Defendant Biggs’ efforts directing

the march of approximately 60 Proud Boys on the Capitol. Biggs shouted orders to the group to

“tighten up,” “hold,” and “turn.”

       177.    As President Trump concluded his speech, other Individual Defendants, including

dozens of members of the Proud Boys in military-style tactical gear, marched toward the Capitol

building.



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       178.   Oath Keepers member Defendant Watkins posted a message on an audio app,

saying, “Trump’s been trying to drain the swamp with a straw. We just brought a shop vac.”

       179.   Meanwhile, Proud Boys members coordinated their movements using handheld

radios and encrypted communication channels, including the “Boots on the Ground” channel,

which was used by Proud Boys leaders Biggs and Nordean. In preparation for the January 6th

Attack, the Proud Boys created the New Ministry of Self Defense (“New MOSD”) channel to

coordinate their members. The group included Defendants Nordean, Biggs, Donohoe, Rehl, and

others. Donohoe posted in the channel to meet at the Washington Monument and that details

would be explained at the “pre-meeting.” Leaders and members of the Proud Boys, including

Defendants Nordean and Biggs, also directed the mob with a bullhorn.

       180.   As they approached the Capitol, members of the Proud Boys encouraged and

directed the group. Consistent with the plans articulated by Proud Boys Chairman Defendant

Tarrio, members of the group were not wearing typical Proud Boys colors of black and yellow,

but were instead dressed “incognito” in dark clothing, and several held walkie-talkie-style

communication devices.

       181.   Although the Proud Boys were told not to wear Proud Boys indicators, photos and

video footage show some of them, including Defendant Pezzola, wearing clothing with the Proud

Boys slogan “Fuck Around and Find Out,” or “FAFO.”

       182.   Members and affiliates of Oath Keepers donned paramilitary equipment, helmets,

reinforced vests, and clothing with Oath Keepers paraphernalia. Specifically, before arriving at

the Capitol building, together with several other currently unidentified John and Jane Doe

Defendants, Defendants Crowl, Watkins, Caldwell, S. Parker, B. Parker, Young, Steele, K. Meggs,




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and C. Meggs equipped themselves with communication devices and donned reinforced vests,

helmets, and goggles.

V.      Defendants Attacked the Capitol Using Coordinated Violence.

        A.     Defendants Stormed the Capitol and Forced Their Way Inside.

        183.   None of the Defendants had authorization to enter the U.S. Capitol, which is

secured 24 hours a day by U.S. Capitol Police, has permanent and temporary security barriers and

posts manned by Capitol Police, and permits only authorized individuals to enter.

        184.   The District’s MPD also provides security for the Capitol from time to time.

        185.   Nonetheless, by approximately 11:30 a.m., a large group had congregated outside

the Capitol, including Proud Boys and Oath Keepers leadership and certain of their members and

affiliates.

        186.   Outside the Capitol, members of the Proud Boys and Oath Keepers, including

Defendant Biggs, provided tactical direction to fellow Defendants, including other currently

unidentified Defendant John and Jane Does.

        187.   Defendants and their cohort began violently clashing with the MPD and Capitol

Police officers who tried to prevent them from entering the building. During the clash, Defendants

screamed at the police, repeating messages like those Defendants promoted before the mob

convened, such as: “We were invited here! We were invited by the President of the United States!”

and “Our president wants us here. We wait and take orders from our president.” As Officer

Aquilino Gonall, a Capitol Police officer, later testified before the House Select Committee to

Investigate the January 6th Attack on the U.S. Capitol (“House Select Committee”): “[a]ll of

them—all of them were telling us [the police officers] ‘Trump sent us.’”




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     Figure 6. The crowd clashes with MPD and Capitol Police officers outside the Capitol.

       188.    By 12:53 p.m., the Defendants, including Proud Boys Individual Defendants Biggs,

Chrestman, Colon, Kuehne, Bru, and other currently unidentified John and Jane Doe Defendants,

overwhelmed the police and breached the outermost barricade that had been erected to protect the

Capitol.

       189.    At 1:00 p.m., a joint session of the U.S. Congress (the “Joint Session”) convened

at the Capitol for members of Congress and Vice President Pence to carry out their Constitutional

and statutory duties of receiving and counting the Electoral College votes.

       190.    At approximately the same time, Capitol Police and MPD officers in riot gear

arrived to reinforce the line of officers on the Capitol steps.

       191.    Undeterred, Defendants and others in the crowd climbed the barriers, while an

unidentified John Doe Defendant with a bullhorn instructed the crowd to push forward. Members

of the Proud Boys led the charge at the front of the mob trying to breach the Capitol. Other

members of the crowd even scaled the walls of the Capitol Complex. See Figure 7.




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              Figure 7. Members of the crowd scale the walls of the Capitol Complex.

       192.     Members of the Proud Boys and Oath Keepers forced their way past the barricades,

assaulted officers, and rushed toward the Capitol building.

       193.     Proud Boys member Defendant Bru grabbed a police barricade in an attempt to

wrench it from law enforcement protecting the Capitol. See Figure 8.




               Figure 8. Defendant Bru and others attempt to wrestle control of the
                         barricades away from police as they march on the Capitol.



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       194.    After pushing their way past another barricade, Proud Boys member Defendant

Klein obtained and used the police barricade to help others climb the Capitol walls and gain access

to an external stairwell. Proud Boys member Defendant Worrell, equipped with a tactical vest and

communications equipment, sprayed a noxious substance (seemingly pepper spray gel) toward a

line of police officers guarding an entryway to the Capitol on the west side.

       195.    By approximately 1:30 p.m., the House and Senate adjourned to separate chambers

to resolve an objection to the vote count, with Vice President Pence presiding over the Senate

chamber. As the proceedings continued in both the House and the Senate, the crowd outside the

Capitol continued to grow in size and became more restless.

       196.    By approximately 1:37 p.m., Defendant Scott and others made it to the lower

western part of the plaza, just outside the Capitol. A line of law enforcement officers stood on the

steps leading to the Capitol building. As is clear from videos of this scene posted to the social

media site Parler, Defendant Scott pushed two Capitol Police officers backwards, up the steps to

the Capitol. This violent act instigated a broader violent confrontation with the police. Defendant

Scott grabbed and pulled a police officer toward the mob, until another officer ultimately

intervened.




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         Figure 9. Defendant Scott (man in green jacket and blue hat) pushing an officer




 Figure 10. Defendant Scott confronting an officer, while a second officer attempts to intervene

        197.    Shortly past 2:00 p.m., Defendant Caldwell sent Defendant Watkins a text message

stating: “Where are you? Pence has punked out. We are screwed. . . . I am here at the dry fountain

to the left of the Capitol.”




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                           Figure 11. Storming the Capitol Complex

       198.   At approximately 2:15 p.m., the mob, led by several individual Defendants,

breached the Capitol by breaking windows and climbing inside the building, opening doors for co-

conspirators to follow. See Figure 12.




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                 Figure 12. Defendant Pezzola uses a stolen Capitol Police riot
                                 shield to break a window of the Capitol.

       199.    Defendants Biggs and Nordean were among the first to enter, along with a large

group of other Proud Boys-affiliated Individual Defendants and unidentified John and Jane Doe

Defendants.

       200.    As seen in Figure 12, Proud Boys members Biggs and Pezzola entered the Capitol

building by breaking a window using a police shield stolen from a Capitol Police officer.

       201.    At approximately 2:16 p.m., Defendants James, Minuta, and other members of Oath

Keepers heard that individuals had breached the Capitol. Defendant Minuta stated: “Now we’re

talking, that’s what I came here for!” Defendant James instructed the group to gather their gear

and head towards the Capitol. Minuta had on tactical gear, including hard-knuckles, ballistic

goggles, a tactical vest, a radio with an earpiece, and bear spray.

       202.    Oath Keepers member Walden and Defendants Minuta and James, along with other

associates, then drove golf carts towards the Capitol, swerving around law enforcement as they

rushed to join the assault. As they drove, Defendant Minuta declared: “Patriots are storming the

Capitol building; there’s violence against patriots by the D.C. Police; so we’re en route in a grand


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theft auto golf cart to the Capitol building right now . . . it’s going down, guys; it’s literally going

down right now Patriots storming the Capitol building . . . fucking war in the streets right now . . .

word is they got in the building . . . let’s go.”

        203.    Oath Keepers leader Rhodes, who coordinated logistical details for many involved

in the Attack in real time, messaged another Oath Keepers leader, informing him that members of

the team had “taken ground at the capital [sic],” instructing that “[w]e need to regroup any

members who are not on mission.” Rhodes instructed his group to report to the “South Side of the

Capitol,” suggesting that they had strategically planned to simultaneously (or near-simultaneously)

enter the Capitol from a different entrance than the Proud Boys in order to weaken the building’s

defense by forcing law enforcement to defend multiple doors.

        204.    Around the time that direction was given, Oath Keepers Defendants Crowl,

Watkins, S. Parker, Young, Steele, K. Meggs, and C. Meggs joined together with other currently

unidentified John and Jane Doe Defendants to form a “military stack” (“the Stack”) formation of

individuals wearing Oath Keepers clothing, patches, insignia, and battle gear. At least one of the

Oath Keepers members wore a patch that warned: “I don’t believe in anything. I’m just here for

violence.”

        205.    At 2:22 p.m., Defendants Crowl, Watkins, S. Parker, B. Parker, Steele, K. Meggs,

C. Meggs, Oath Keepers member Hackett, and others, entered the Capitol grounds. Upon entering

the grounds, they gathered in a circle.

        206.    At 2:24 p.m., Defendant K. Meggs received the message from Oath Keepers

founder Rhodes to come to the south side of the Capitol. At 2:25 p.m., Rhodes forwarded a

message to the Signal group chat with the same instructions and posted a photograph showing the

southeast side of the Capitol.



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       207.    At around 2:32 p.m., Rhodes exchanged a 97-second telephone call with Defendant

K. Meggs, who was in the Oath Keepers Stack.

       208.    At 2:35 p.m., the Stack maneuvered together in an organized and coordinated

fashion up the steps of the Capitol, with each person keeping a hand on the shoulder of the person

in front of them, as depicted in Figure 13.




              Figure 13. Oath Keepers advance on the Capitol in stack formation.

       209.    Towards the top of the steps, Oath Keepers member Dolan and Defendant

Harrelson joined the Stack.

       210.    At approximately 2:40 p.m., Oath Keepers members Hackett and Dolan and

Defendants Crowl, Harrelson, Watkins, S. Parker, Young, Steele, K. Meggs, and C. Meggs,

together with other currently unidentified John and Jane Doe Defendants in their group, forcibly

entered the Capitol through the Rotunda door in the center of the east side of the building. The

group assaulted police officers guarding the door in order to breach the building, including by



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throwing objects at the officers and deploying chemical irritants against them. This group of

Defendants—each suited up in protective combat gear—continued to maintain their Stack

formation as they entered, as depicted in Figures 13 and 14.




        Figure 14. Oath Keepers in protective combat gear breach the Capitol Building.

       211.    As Defendant Watkins later confirmed when challenged about whether she had

actually forced her way into the Capitol: “Forced. Like Rugby. We entered through the back

door of the Capitol.” Another of Defendant Watkins’s posts confirmed: “Yeah. We stormed the

Capitol today. Teargassed, the whole, [sic] 9. Pushed our way into the Rotunda. Made it into the

Senate even. The news is lying (even Fox) about the Historical Events we created today.”

       212.    Defendant Young later admitted in his plea agreement that “[a]t the time he forcibly

entered the building, [Young] believed that he and [certain Oath Keepers] co-conspirators were

trying to obstruct, influence, and impede an official proceeding, that is, a proceeding before

Congress, specifically, Congress’s certification of the Electoral College vote.”



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       213.    Around the same time, Proud Boys member Garcia uploaded a video to his

Facebook account filmed from the inside of the Capitol building. He narrated his actions for his

social media followers, stating: “We just went ahead and stormed the Capitol. It’s about to get

ugly.” Later in the video, Proud Boys member Garcia can be observed directing those around him

to overtake law enforcement in the Capitol. As officers attempted to stop him from advancing, he

yelled, “USA! Storm this shit!” See Figure 15.




 Figure 15. Garcia uploads a video on Facebook showing him directing the crowd to storm the
                                              Capitol.

       214.    Nearly simultaneously, Oath Keepers member Isaacs joined a mob advancing on

the Columbus Doors at the central east entrance to the Capitol. The mob, including Isaacs, then

assaulted the officers who were guarding the Columbus Doors, throwing objects and spraying

chemical irritants at the officers as they violently pulled on the doors. At approximately 2:39 p.m.,

Isaacs and the mob breached the Columbus Doors and entered the Capitol.


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         215.     On January 7, 2021, Defendant Crowl confirmed that the Defendants had agreed to

simultaneously attack the Capitol building through separate doors, stating: “Yes. . . we went in

through the east ‘back’ door. Just as they broke through the front door. I’ll have to tell you about

it. . . . It. . . was. . . EPIC!!!”

         216.     By 2:48 p.m., Defendant Caldwell sent a social media message stating: “We are

surging forward. Doors breached.”

         217.     Proud Boys, Oath Keepers, and their members and affiliates—including the

Individual Defendants—continued to force their way into the building. At 3:15 p.m., Defendants

James, Minuta, and others forcibly entered the Capitol through the east side of the Rotunda—the

same path that members of the Stack had used to enter the Capitol earlier that day. Defendant

Minuta was armed with bear spray and other tactical gear. Walden brought his 82-pound security

dog into the building.

         218.     Proud Boys member Eddie Block livestreamed the actions of those around him as

they assaulted the Capitol building, telling viewers that “flash bombs [were] going off. Rubber

pellets were flying everywhere. Tear gas was everywhere.” Block positioned himself on the

second-level balcony of the Capitol grounds where he would continue livestreaming until the

police dispersed the crowd later that night.

         B.       Once Inside the Capitol, the Defendants Continued to Use Violence as They
                  Moved Toward the Congressional Chambers.

         219.     Once inside, Defendants continued their violent rampage, actively seeking out the

official election certification proceedings and individuals with official functions in an effort to

disrupt the election certification process with threats and violence.




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       Figure 16. Defendants and their cohort marching through the halls of the Capitol

       220.   Defendants Bru, Pepe, and Jackman were captured on video and in photographs

walking in the crowd among other Defendant John and Jane Does and others within the Capitol

building after overtaking law enforcement outside of the building. See Figure 17.




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Figure 17. Defendants, including Bru, and their cohort, breach the Capitol and storm its halls.

       221.    Proud Boys member Defendant Chrestman was also in the crowd, carrying a

wooden axe handle. Chrestman threatened a Capitol Police officer, telling him, “You shoot and

I’ll take your fucking ass out!” See Figure 18.




      Figure 18. Defendant Chrestman carrying a wooden axe handle through the Capitol

       222.    Oath Keepers members Hackett and Dolan, and Defendants Crowl, Watkins, S.

Parker, Young, Steele, K. Meggs, and C. Meggs, as well as other unidentified John and Jane Doe

Defendants in the group, also joined the larger crowd, pushing past law enforcement who

attempted to stop them.




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       223.    Similarly, Oath Keepers Defendants Minuta and James joined other attackers in

pushing a line of law enforcement officers who had formed a barrier between the Rotunda and the

Capitol lobby. During this altercation, Defendant James yanked and pushed several police officers

while repeatedly yelling, “Get out of my Capitol!” and “This is my fucking building! This is not

yours! This is my Capitol!” Defendant Minuta recorded these events on camera while yelling,

“This is what’s bound to happen, just get out! Get out! Get these cops out! It’s our fucking

building! Get ’em out, get out!”




           Figure 19. Defendant Schaffer shouting as he marches through the Capitol

       224.    Defendant DeCarlo, who wore a t-shirt reading “Murder the Media,” etched those

same words into the Memorial Door on the East Front of the Capitol. The door was intended to

honor two Capitol Police officers who died in the line of duty in 1998. At the same door, Defendant

DeCarlo stole a pair of flexible handcuffs from a Capitol Police officer’s bag.




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       C.      Defendants Breached Congressional Chambers in Pursuit of Their Goal of
               Disrupting Certification of the Election Results.

       225.    When the mob first broke into the Capitol, members of the House of

Representatives and the Senate were tallying the votes cast by members of the Electoral College

in the 2020 Presidential Election.

       226.    Vice President Pence was also at the Capitol in his capacity as the President of the

Senate, to preside over the tally of the Electoral College ballots. Having declined to suspend the

Electoral College vote tally, Vice President Pence became a target of the mob’s violent threats.

They chanted, “Hang Mike Pence!”

       227.    As the events unfolded, the risk to the Vice President and members of Congress

increased.

       228.    Police and security personnel barricaded the doors to the House chamber, where

lawmakers and others were forced to take cover on the ground as the Defendants and others beat

on the doors and attempted to force their way through the barricades. See Figure 20.




       Figure 20. Capitol security barricades the House Chamber with weapons drawn.




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  Figure 21. Rep. Jason Crow of Colorado, center, comforts Rep. Susan Wild of Pennsylvania
                   while taking cover as the Defendants and others storm the Capitol.

       229.    At approximately 2:30 p.m., Defendants’ unlawful attack on the Capitol had

become so disruptive and such a threat to safety and security that congressional staff, members of

Congress, and Vice President Pence were evacuated. The Joint Session was halted while law

enforcement officers worked to restore order and clear the Capitol of the unlawful occupants,

including Defendants.




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                Figure 22. Evacuation of Members of Congress



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        Figure 23. Evacuees wear gas masks as they flee the Capitol.




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      Figure 24. Vice President Pence in the process of being evacuated from the Capitol

       230.   Many individuals, including Defendants, breached the House and Senate chambers,

continuing to flaunt their activities on social media. For example, Defendant Jackman broke into

the Capitol with Defendants Biggs and Rehl, entered the gallery of the Senate chamber, and was

videotaped walking up a flight of stairs in the Capitol with his hand on Proud Boys leader

Defendant Biggs’ shoulder. Jackman entered the Senate chamber and proceeded to take a picture

of himself.




              Figure 25. Posing for pictures after storming the Senate chambers



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       231.   Several members of the Defendants’ cohort, including some of those who entered

the Congressional chambers, carried plastic zip handcuffs for the purpose of capturing and

detaining persons, including members of Congress. See Figure 26.




         Figure 26. Standing on the Senate floor, holding several plastic zip handcuffs

       232.   For hours that day, Defendants and thousands of others entered and occupied the

grounds of the Capitol building using violence.




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                      Figure 27. The Capitol on the afternoon of January 6th

          233.   The Joint Session could not reconvene until approximately 8:00 p.m.            At

approximately 3:40 a.m. on January 7th, Vice President Pence affirmed the election results,

formally declaring now President Biden the President-elect.

          234.   Following the Attack, the Defendants celebrated the havoc they had wrought on the

Capitol, in some cases even proudly admitting to the conspiracy between the Proud Boys, the Oath

Keepers, their leadership, and certain of their members and affiliates to carry out the January 6th

Attack.

          D.     Defendants Attacked Law Enforcement Officers Throughout Their Attack
                 on the Capitol.

          235.   Several Defendants attacked police officers who attempted to defend the Capitol

and members of Congress. See Figures 28 and 29.




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      Figure 28. The crowd attacked police as they began to breach the Capitol building.




              Figure 29. The crowd clashed with police inside the Capitol building.

       236.    Members of the crowd sprayed law enforcement officers with bear mace, a pepper

spray designed to deter bear attacks that is more concentrated than self-defense products meant to

deter human attacks. When sprayed into the face, it causes temporary loss of sight, nasal

congestion, and, in some, difficulty breathing.




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       237.    Others dragged and kicked law enforcement officers, pushed them down stairs,

trampled them, punched them, and ran over them in a stampede.

       238.    One MPD officer was beaten by members of the crowd with sticks and crutches,

including by one person wielding an American flag. See Figure 30. The MPD officer later recalled

during his testimony before the House Select Committee that attackers were lunging at him and

trying to grab his gun while chanting “kill him with his own gun.”




              Figure 30. The crowd of Defendants and others dragging and beating
                                  an MPD Officer on the Capitol steps

       239.    Defendant Pezzola participated in at least one group attack on another police

officer. Defendant Pezzola ripped away a Capitol Police officer’s riot shield while the officer was

physically engaged with others.

       240.    Shortly after breaching the Capitol in stack formation, Defendants Crowl, Watkins,

S. Parker, Young, and Steele, along with Oath Keepers member Isaacs, moved from the Rotunda

through the northbound hallway and attempted to enter the Senate’s wing of Congress.




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        241.     In advancing towards the Senate, Oath Keepers member Isaacs waved the crowd

down the hallways to the Senate and yelled “the fight’s not over.”

        242.     At 2:45 p.m. and afterward, Defendants Crowl, Watkins, S. Parker, and Young,

along with Oath Keepers member Isaacs, joined a mob pushing against a line of riot police officers

guarding the hallway connecting the Rotunda to the Senate. Defendant Watkins commanded those

around her to “push, push, push,” and to “get in there, get in there,” while insisting, “they [the

police officers] can’t hold us.”

        243.     Additional unidentified John and Jane Doe Defendants were involved in similar

attacks.

        244.     Proud Boys member Defendant Nordean later posted a photo on Parler showing a

U.S. Capitol Police officer, under siege, using pepper spray during the January 6th Attack, opining

that “if you feel bad for the police, you are part of the problem.”

        E.       Defendants Coordinated Communications During the Attack.

        245.     The Individual Defendants and some or all of the currently unidentified John and

Jane Doe Defendants kept in communication throughout the January 6th Attack, including through

the use of two-way walkie-talkie-style radios, cellular telephones, and social media to coordinate

their actions.

        246.     Many of the Individual Defendants used a Signal chat to discuss the ongoing attack.

At 2:41 p.m. that day, a co-conspirator wrote to the group chat, attaching a picture of the southeast

side of the Capitol and adding, “South side of US Capitol. Patriots pounding on doors.” Around

the same time, Defendants K. Meggs, Crowl, Watkins, S. Parker, Young, Steele, and C. Meggs

were breaching the doors to the Capitol.




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       247.    Oath Keepers member Defendant Watkins also communicated with other members

of Oath Keepers during the Capitol breach over a Zello channel called “Stop the Steal J6”:

               •   Watkins: “We have a good group. We have about 30-40 of us. We are
                   sticking together and sticking to the plan.” (emphasis added).

               •   Unknown male: “We’ll see you soon, Jess. Airborne.”

               •   Unknown male: “You are executing citizen’s arrest. Arrest this assembly, we
                   have probable cause for acts of treason, election fraud.”

               •   Watkins: “We are in the mezzanine. We are in the main dome right now. We
                   are rocking it. They are throwing grenades, they are fricking shooting people
                   with paint balls. But we are in here.”

               •   Unknown male responds, telling Watkins to be safe, and states: “Get it, Jess.
                   Do your fucking thing. This is what we fucking [unintelligible] up for.
                   Everything we fucking trained for.” (emphasis added).

       248.    Defendants also exchanged information about the location of members of

Congress, who by that point had begun to hide from the mob that was hunting them.

       249.    When Defendant Caldwell posted a Facebook message that read, “Inside,” he

received the following messages, among others:

               •   “Tom take that bitch over”;

               •   “Tom all legislators are down in the Tunnels 3 floors down”;

               •   “Do like we had to do when I was in the core start tearing out floors go from
                   top to bottom”; and

               •   “Go through back house chamber doors facing N left down hallway down
                   steps.”

       250.    One co-conspirator communicated to Defendant Caldwell: “All members are in the

tunnels under capital [sic] seal them in. Turn on gas.”

       251.    Another affiliate, Keith Lee, reported on a podcast during the Attack that “backup”

was arriving at the Capitol, including members of the Proud Boys.




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           252.   In an indictment, prosecutors revealed that Rhodes, his deputy, and three additional

members of Oath Keepers who acted as guards for the political consultant Roger Stone on January

6th exchanged 19 phone calls during the January 6th Attacks totaling over three hours.

VI.        The District of Columbia Answered the Call to Provide Support during the January
           6th Attack—and Was Injured as a Result.

           253.   In response to concerns leading up to January 6th, MPD deployed its officers on

12-hour shifts around the District. No officers were permitted to take leave on that day.

           254.   Other law enforcement partners such as the Metropolitan Transit Police and non-

law enforcement agencies such as the District’s Homeland Security and Emergency Management

Agency and the Fire and Emergency Medical Services Department were also supporting these

efforts.

           255.   The measures taken by MPD and others to prepare for January 6th were

unprecedented:      never before had the certification of an election required such significant

allocation of law enforcement resources.

           256.   Nonetheless, these resources were insufficient to counter the unprecedented violent

assault on the U.S. Capitol by Defendants in an attempt to halt the counting of the electoral ballots,

an essential step in the peaceful transfer of the presidency.

           257.   As the events described above began to unfold, the Capitol Police quickly

discovered that they could not defend the Capitol alone. Accordingly, at 12:58 p.m. on January

6th, the Chief of the Capitol Police asked for MPD’s assistance at the Capitol.

           258.   MPD responded immediately, deploying several Civil Disturbance Unit Platoons.

           259.   By the time MPD officers arrived at the Capitol, the area was in chaos.




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       260.    MPD officers were engaged in a battle for hours. Many were forced into hand-to-

hand combat to prevent even more of the Defendants and their cohort from gaining entry into the

Capitol.

       261.    By 2:30 p.m., MPD resources were so overwhelmed that the District had to request

additional police officers from as far away as New Jersey.

       A.      MPD Officers Suffered Physical and Mental Injuries as a Result of the
               Defendants’ Attack

       262.    At least 65 MPD officers reported sustaining injuries as a direct result of the

January 6th Attack.

       263.    The officers’ physical injuries varied, ranging from bruised arms and legs, swollen

ankles and wrists, and lacerations, to more serious damage such as irritated eyes and lungs from

bear and pepper spray, cracked ribs, shattered spinal discs, wounds from being hit with a metal

fence stake, and concussions from head blows from various objects, including metal poles ripped

from inauguration-related scaffolding and an American flag pole.

       264.    One MPD officer reported being hit on the back of his head with a pole, and that

the attackers had wrenched his head back. The officer sustained a concussion, which necessitated

visits to neurologists and therapists.

       265.    One MPD officer testified before the House Select Committee regarding the

physical and mental injuries he sustained as a result of the Attack. He described suffering a heart

attack (caused by being repeatedly hit with a stun gun), a concussion, a traumatic brain injury, and

post-traumatic stress disorder.

       266.    The MPD officer was electrocuted multiple times as he was beaten unconscious by

the crowd while screaming for help. While the crowd was beating him with fists and hard metal

objects, they shouted “kill him with his own gun” and stripped his badge, radio, and ammunition


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from his body. As a result of his injuries, the MPD officer lost consciousness for more than four

minutes.

        267.    The MPD officer was finally driven to MedStar Washington Hospital by his MPD

partner, who was also heavily injured. The officer continues to suffer psychological trauma and

anxiety from the attack.

        268.    A second MPD officer also testified before Congress. During the Attack, that

officer was crushed between a doorframe and a clear plastic shield that was wielded by someone

in the crowd. As he has described publicly, attackers threw items at his head, attempted to wrest

away his baton, and teargassed him. At one point, someone tried to gouge out his eye. Eventually,

while he was pinned against the door, another attacker beat his head against the wall. Another

man wrested away the officer’s baton and beat him in the face with it, leaving him with a ruptured

lip and cranial injuries.




 Figure 31. The second MPD officer as he is crushed between a doorframe and a police shield

        269.    The group also pulled another MPD officer into the mob where they kicked him,

beat him with poles, and stomped on him. The MPD officer eventually escaped from the mob,

bleeding from his head, and was treated for a laceration that required two staples.

        270.    Other MPD officers sustained injuries that are not yet formally reported, including

scratches, bruises, and eyes burning from bear mace.



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         271.   The effects of the January 6th Attack have continued. MPD officers continue to

suffer the effects of complex physical and emotional trauma.

         272.   Dr. Beverly Anderson, a therapist who serves as the clinical director of the

Metropolitan Police Employee Assistance Program, has worked with nearly 1,000 officers since

the January 6th Attack in an effort to help them cope with the physical and emotional trauma

caused by the Defendants and their cohort. During the course of her work, Dr. Anderson

discovered that some officers suffered head traumas as a result of the Attack that had previously

gone undiagnosed.

         273.   The Attack’s impact on MPD and its officers has been long-lasting and severe.

         274.   As of mid-July, more than six months after the Attack, some of the officers who

responded to the Attack were still on leave as a result of the trauma they suffered at the Defendants’

hands.

         B.     The District Has Incurred Significant Damages as a Result of Defendants’
                Unlawful Actions

         275.   For the District, the fiscal costs of this Attack—which are directly attributable to

the Defendants’ calculated, pre-planned, and coordinated actions—have been steep.

         276.   The Defendants’ actions necessitated an unprecedented deployment of MPD

resources. During the height of the Attack, approximately 850 MPD officers were at the Capitol;

by the day’s end, approximately 250 additional MPD officers were in the area to support the

response and aftermath. These numbers far exceed the number of officers necessary for the MPD’s

usual duties, including usual duties carried out during non-violent rallies and protests, and the costs

to the District arising from this expansive deployment of MPD resources was significant.

         277.   The District also incurred costs related to the emergency and other medical care

provided to MPD officers who were injured as a result of the Defendants’ actions. Dozens of MPD


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officers formally reported and were treated for injuries resulting from the Defendants’ Attack.

Many MPD officers also required—and in some cases, still require—mental health care following

the traumatic events that unfolded during the Attack. The District expects to pay for continued

medical care for these officers as necessary going forward, including care related to the impact of

the Attack on MPD officers’ mental health.

       278.    While the costs to the District are still being investigated and tallied, the District

has preliminarily estimated that MPD incurred millions of dollars in costs during the week of

January 6th alone.

                                 COUNT I: 42 U.S.C. § 1985(1)
                                   (ALL DEFENDANTS)

       279.    Plaintiff reincorporates by reference the allegations contained in all preceding

paragraphs.

       280.    Plaintiff states Count One, under 42 U.S.C. § 1985(1), against all Defendants.

       281.    Defendants agreed and entered into a conspiracy amongst themselves and with

other co-conspirators, in the United States, to storm the Capitol building violently and unlawfully

on January 6, 2021 (the “Section 1985 Conspiracy”).

       282.    The object of the Section 1985 Conspiracy was to prevent, interrupt, hinder, and

impede, through force, intimidation, and threat: (i) United States officials from discharging

official duties of their offices and positions of trust as part of the formal process for counting and

certifying the count of electoral votes for the 2020 presidential election and declaring a winner of

the 2020 presidential election; (ii) President Biden and Vice President Kamala Harris from

accepting or holding the offices of President of the United States and Vice President of the United

States, respectively; and (iii) President Biden and Vice President Harris from discharging any




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duties of the offices of President of the United States and Vice President of the United States,

respectively.

       283.     Defendants also conspired to injure Vice President Pence’s person and property on

account of his lawful discharge or performance of his duties as Vice President of the United States

and President of the Senate with respect to the election.

       284.     In furtherance of the conspiracy, Defendants and their co-conspirators:

                a.     engaged in preparations and took steps to advance the goals of their
                       conspiracy against United States officials in advance of and on January 6,
                       2021, and

                b.     violently overran federal and District police forces as Defendants forced
                       their way into the Capitol building, where Defendants used force,
                       intimidation, and threats to prevent Congress from following the
                       constitutional process set out by the Twelfth Amendment and 3 U.S.C. § 15
                       for counting and certifying electoral votes for, and declaring a winner of,
                       the 2020 presidential election.

       285.     Through these actions, Defendants and their co-conspirators perpetrated malicious

and unlawful acts in furtherance of their conspiracy, including, but not limited to:

                a.     unlawfully obstructing federal officials in the performance of their
                       constitutional duties;

                b.     unlawfully trespassing on federal property;

                c.     physically threatening or attempting to cause physical injury to federal,
                       state, and municipal police officers, including MPD officers employed by
                       Plaintiff who were acting in the line of duty to protect the Capitol; and

                d.     engaging in harmful bodily contact against federal, state, and municipal
                       police officers, including MPD officers employed by Plaintiff, injuring
                       many.




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       286.    As a direct result of Defendants’ and their co-conspirators’ unlawful conspiracy

and the actions taken in support of that conspiracy, the District suffered extraordinary damages

and costs, including but not limited to:

               a.      costs to dispatch hundreds of MPD officers to defend the Capitol and its
                       surroundings against the Defendants’ attack, including transportation,
                       coordination, and overtime expenses;

               b.      costs for emergency and other medical treatment for injured MPD officers;
                       and

               c.      costs for paid leave for MPD officers who could not work as a result of their
                       injuries.

       287.    Based on the foregoing, Defendants are jointly and severally liable to Plaintiff

under 42 U.S.C. § 1985(1) for the harms suffered by the District.

                                  COUNT II: 42 U.S.C. § 1986
                                    (ALL DEFENDANTS)

       288.    Plaintiff reincorporates by reference the allegations contained in all preceding

paragraphs.

       289.    This Count is brought by Plaintiff against all Defendants.

       290.    Defendants had actual knowledge of the conspiracy among the Defendants and their

unnamed co-conspirators described in Count I, supra.

       291.    As alleged in Count I, the District suffered damages as a result of Defendants’

Section 1985 Conspiracy.

       292.    Defendants were well aware that the wrongs pled in Count I were about to and

would be committed, as Defendants were present and participated actively in the conspiracy and

the actions taken in furtherance of the conspiracy that resulted in the injuries suffered by the

District. Thus, each of the Defendants had the power to prevent or aid in preventing the

commission of the same.



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       293.    Despite this awareness, Defendants neglected or refused to prevent the conspiracy.

To the contrary, Defendants spread misinformation, fanned the flames of the conspiracy, actively

encouraged and participated in the actions that left the Capitol in shambles, threatened a vital

component of our democracy, and injured law enforcement.

       294.    Based on the foregoing, Defendants are liable to Plaintiff under 42 U.S.C. § 1986

for the harms they caused to the District.

                                COUNT III: ASSAULT
                      (CIVIL CONSPIRACY BY ALL DEFENDANTS)

       295.    Plaintiff reincorporates by reference the allegations contained in all preceding

paragraphs.

       296.    This Count is brought by Plaintiff against all Defendants.

       297.    As set forth above, Defendants agreed to participate together in a common scheme

to commit unlawful acts, or to commit lawful acts by unlawful means, including, but not limited

to, unlawfully obstructing federal officials in the performance of their constitutional duties,

unlawfully inciting and carrying out a riot, unlawfully trespassing on federal property, and

committing numerous acts of intimidation, threats of violence, and violence.

       298.    Pursuant to and in furtherance of that common scheme, the Defendants’ intentional

acts caused individuals in and around the Capitol, including MPD officers, to suffer immediate

apprehension of harmful or offensive bodily contact.

       299.    Based on the foregoing, all Defendants are liable to the District as civil co-

conspirators for the resulting damage.




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                                COUNT IV: BATTERY
                      (CIVIL CONSPIRACY BY ALL DEFENDANTS)

       300.    Plaintiff reincorporates by reference the allegations contained in all preceding

paragraphs.

       301.    This Count is brought by Plaintiff against all Defendants.

       302.    As set forth above, Defendants agreed to participate together in a common scheme

to commit unlawful acts, or to commit lawful acts by unlawful means, including, but not limited

to, unlawfully obstructing federal officials in the performance of their constitutional duties,

unlawfully inciting and carrying out a riot, unlawfully trespassing on federal property, and

committing numerous acts of intimidation, threats of violence, and violence.

       303.    Pursuant to, and in furtherance of that common scheme, the Defendants’ intentional

actions caused harmful and offensive bodily contact with individuals in and around the Capitol,

including MPD officers.

       304.    Based on the foregoing, all Defendants are liable to the District as civil co-

conspirators for the resulting damage.

        COUNT V: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                 (CIVIL CONSPIRACY BY ALL DEFENDANTS)

       305.    Plaintiff reincorporates by reference the allegations contained in all preceding

paragraphs.

       306.    This Count is brought by Plaintiff against all Defendants.

       307.    As set forth above, Defendants agreed to participate together in a common scheme

to commit unlawful acts, or to commit lawful acts by unlawful means, including, but not limited

to, unlawfully obstructing federal officials in the performance of their constitutional duties,




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unlawfully inciting and carrying out a riot, unlawfully trespassing on federal property, and

committing numerous acts of intimidation, threats of violence, and violence.

       308.    Pursuant to, and in furtherance of that common scheme, Defendants exhibited

extreme and outrageous conduct that went beyond all possible bounds of decency. This conduct

intentionally or recklessly caused MPD officers to suffer from severe emotional distress, as

described supra.

       309.    Based on the foregoing, all Defendants are liable to the District as civil co-

conspirators for the resulting damage.


                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff respectfully requests an award of the following relief:

       A.      A declaratory judgment that the actions described herein constitute a violation of

42 U.S.C. § 1985(1); 42 U.S.C. § 1986; and the torts of assault, battery, and intentional infliction

of emotional distress.

       B.      Injunctive relief enjoining Defendants from engaging in future violations of

42 U.S.C. § 1985(1); 42 U.S.C. § 1986; and the torts of assault, battery, and intentional infliction

of emotional distress.

       C.      Compensatory and statutory damages in an amount to be determined at trial as to

damages incurred by the District resulting from the events alleged above.

       D.      Punitive damages at an amount to be determined at trial.

       E.      Attorneys’ fees and court costs under 42 U.S.C. § 1988.

       F.      Such other relief as the Court deems just and proper.

                                         JURY DEMAND

       The District demands a trial by jury for all claims so triable.



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Dated: December 14, 2021

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* Pro hac vice application forthcoming




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